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          Exhibit 5
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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK


                                                 x
                                                 : Civil Action No. 1:13-cv-03851-RMB
In re BARRICK GOLD SECURITIES                    :
LITIGATION                                       :
                                                 :
                                                 x



            DECLARATION OF JONATHAN GARDNER FILED ON BEHALF OF
            LABATON SUCHAROW LLP IN SUPPORT OF APPLICATION FOR
                  AWARD OF ATTORNEYS’ FEES AND EXPENSES



       I, JONATHAN GARDNER, declare as follows:

       1.      I am a member of the law firm of Labaton Sucharow LLP (“Labaton Sucharow”). I

am submitting this declaration in support of my firm’s application for an award of attorneys’ fees

and expenses/charges (“expenses”) in connection with services rendered in the above-entitled action.

       2.      This firm is Court-appointed Liaison Counsel for lead plaintiffs LRI Invest S.A. and

Union Asset Management Holding AG (“Lead Plaintiffs”). My firm worked closely with and under

the direction of Lead Counsel and was involved throughout all stages of the prosecution and

settlement of the Action, which are explained in detail in the Declaration of James M. Hughes in

Support of Lead Plaintiffs’ Motion for Final Approval of Proposed Class Action Settlement and Plan

of Allocation and Lead Counsel’s Motion for Award of Attorneys’ Fees and Payment of Litigation

Expenses (“Hughes Declaration”), filed herewith.

       3.      The information in this declaration regarding the firm’s time and expenses is taken

from time and expense printouts and supporting documentation prepared and/or maintained by the

firm in the ordinary course of business. These printouts (and backup documentation where
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necessary or appropriate) were reviewed in connection with the preparation of this declaration. The

purpose of this review was to confirm both the accuracy of the entries on the printouts as well as the

necessity for, and reasonableness of, the time and expenses committed to the litigation. As a result

of this review, reductions were made to both time and expenses in the exercise of billing judgment.

As a result of this review and the adjustments made, I believe that the time reflected in the firm’s

lodestar calculation and the expenses for which payment is sought as set forth in this declaration are

reasonable in amount and were necessary for the effective and efficient prosecution and resolution of

the litigation. In addition, I believe that the expenses are all of a type that would normally be

charged to a fee-paying client in the private legal marketplace.

       4.      After the reductions referred to above, the number of hours spent on this litigation by

my firm is 12,422.40. A breakdown of the lodestar is provided in Exhibit A. The lodestar amount

for attorney/paraprofessional time based on the firm’s current rates is $6,653,033.00. The hourly

rates shown in Exhibit A are the usual and customary rates set by the firm for each individual.

       5.      My firm seeks an award of $286,728.60 in expenses in connection with the

prosecution of the litigation. Those expenses and charges are summarized by category in Exhibit B.

       6.      The following is additional information regarding certain of these expenses/charges:

               (a)     Transportation, Hotels, and Meals: $9,360.67. In connection with the

prosecution of this case, the firm has paid for work-related transportation and meals, including travel

expenses to attend, among other things, witness interviews and depositions. No travel was First

Class. The date, destination and purpose of each out-of-town trip are set forth in Exhibit C.

               (b)     Court Hearing and Deposition Reporting, and Transcripts: $331.38. The

vendors who were paid for hearing and deposition transcripts are listed in Exhibit D.




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               (c)     Experts/Consultants: $6,312.50. During the prosecution of this case, counsel

for Lead Plaintiffs consulted with a number of experts, who provided valuable assistance during the

litigation. The majority of these expert expenses were shared by counsel and were incurred by the

litigation expense fund maintained by my firm (the “Litigation Fund”). See paragraphs 7 below and

Exhibit F for details concerning the Litigation Fund. My firm directly incurred expenses totaling

$6,312.50 in connection with the retention of a consulting expert in the field of mining.

               (d)     Duplicating: $43,281.80. In connection with this case, the firm made 201,394

in-house black and white copies, charging $0.20 per copy for a total of $40,278.80. The firm also

made 15,015 in-house color copies, charging $0.20 per copy for a total of $3,003.00. Each time an

in-house copy machine or printer is used, our billing system requires that a case billing code be

entered and that is how the 216,409 copies were identified as related to this case. A breakdown of

these charges is set forth in Exhibit E.

               (e)     Online Legal and Financial Research: $25,703.31. These are charges for

vendors such as PACER, Westlaw, LexisNexis Risk Solution, LexisNexis, Bloomberg, Thomson

Reuters Markets. These databases were used to obtain access to financial data, factual information,

and legal research. This category represents the expense incurred by Labaton Sucharow for use of

these services in connection with this litigation. The charges for these vendors vary depending upon

the type of services requested.

       7.      My firm maintained a Litigation Fund for certain common expenses in connection

with the prosecution of this case. The category entitled “Litigation Fund Contributions” in each

plaintiffs’ counsel’s fee and expense declaration represents contributions to this expense fund. A

breakdown of the contributions to and payments made from the Litigation Fund is attached as

Exhibit F. There is no balance remaining in the Litigation Fund and $48,776.41 in expenses remains




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outstanding and unpaid. These “Outstanding Litigation Fund Costs” are reflected on my firm’s

expense table and are included in the amount being requested by my firm. A breakdown of the

contributions to and payments made from the Litigation Fund is attached as Exhibit F.

          8.   The following is additional information regarding certain of the expenses incurred by

the Litigation Fund, as reported in Exhibit F:

               (a)     Experts/Consultants: $517,602.80. As explained in the Hughes Declaration,

Lead Plaintiffs’ Counsel worked closely with a variety of experts throughout the prosecution of the

Action.

                       (i)     Loss Causation/Market Efficiency/Damages : $318,405.62

                       (ii)    Accounting/Controls: $176,697.18

                       (iii)   Mining : $22,500.00

               (b)     Court Reporting Services: $2,837.13. These expenses have been paid largely

to firms that provide deposition transcription services and were incurred in connection with the

depositions taken in the case. The vendors who were paid for these services are set forth in Exhibit

F.

               (c)     Mediation Fees: $66,770.84. These are the fees of the mediator, Layn

Phillips, who conducted multiple mediation sessions leading to the settlement of the litigation.

               (d)     Investigation Expenses: $39,967.56. These costs relate primarily to the

process of propounding discovery outside the United States. The majority of the costs were incurred

in connection with letters rogatory in Canada and Chile, and the remainder relate to the retention of

counsel for the confidential witnesses cited in Lead Plaintiffs’ Consolidated Amended Class Action

Complaint.




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       9.      All of the expenses reported by my firm pertaining to this case are reflected in the

books and records of my firm. These books and records are prepared from receipts, expense

vouchers, check records and other documents and are an accurate record of the expenses.

       10.     The identification and background of my firm and its partners, of counsels and senior

counsel is attached hereto as Exhibit G.

       I declare under penalty of perjury that the foregoing is true and correct. Executed this 6th

day of September, 2016, at New York, NY.



                                                           JONATHAN GARDNER




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                         Exhibit A
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                             EXHIBIT A

                             LODESTAR

                    LABATON SUCHAROW LLP
                    Inception through July 15, 2016

                                               TOTAL       TOTAL
                               HOURLY          HOURS     LODESTAR
 PROFESSIONAL       STATUS      RATE          TO DATE     TO DATE
Keller, C.             (P)       $950           257.80    $244,910.00
Gardner, J.            (P)       $925           295.20    $273,060.00
Gottlieb, L.           (P)       $925            17.60     $16,280.00
Stocker, M.            (P)       $875           114.00     $99,750.00
Belfi, E.              (P)       $875            21.20     $18,550.00
Zeiss, N.              (P)       $850            86.60     $73,610.00
Hallowell, S.          (P)       $800           775.80    $620,640.00
Fonti, J.              (P)       $800           367.50    $294,000.00
Hoffman, T.            (P)       $800            29.80     $23,840.00
Tountas, S.            (P)       $775            64.60     $50,065.00
Fox, C.               (OC)       $750           734.60    $550,950.00
Wierzbowski, E.        (A)       $725            28.90     $20,952.50
Erroll, D.             (A)       $675            73.10     $49,342.50
Avan, R.               (A)       $600            35.30     $21,180.00
Buell, G.              (A)       $550            25.30     $13,915.00
Stampley, D.           (A)       $460           295.00    $135,700.00
Coquin, A.             (A)       $425           209.70     $89,122.50
Hane, C.               (A)       $390           176.60     $68,874.00
Jouvin, Z.            (SA)       $500           978.70    $489,350.00
Wharff, W.            (SA)       $500           713.30    $356,650.00
Hurtado, S.           (SA)       $500           626.70    $313,350.00
Kramer, D.            (SA)       $500           513.00    $256,500.00
Torrez, F.            (SA)       $500           498.50    $249,250.00
Figueroa, Y.          (SA)       $500           488.70    $244,350.00
Lugo Melendez, K.     (SA)       $500           432.70    $216,350.00
Horlacher, S.         (SA)       $500           346.60    $173,300.00
Assefa, M.            (SA)       $500           339.00    $169,500.00
Salzman, E.           (SA)       $500            93.10     $46,550.00
Flanigan, M.          (SA)       $435           278.60    $121,191.00
Hirsh, J.             (SA)       $410            16.00      $6,560.00
Davis, O.             (SA)       $390           193.10     $75,309.00
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                                          TOTAL        TOTAL
                              HOURLY      HOURS      LODESTAR
 PROFESSIONAL       STATUS     RATE      TO DATE      TO DATE
Stinaroff, D.         (SA)      $360        937.40    $337,464.00
Korode, J.            (SA)      $360        731.40    $263,304.00
Schervish, W.         (LA)      $550        113.70      $62,535.00
Pontrelli, J.          (I)      $495        596.20    $295,119.00
Greenbaum, A.          (I)      $455         25.20      $11,466.00
Crowley, M.            (I)      $435         29.60      $12,876.00
Polk, T.               (I)      $430        145.10      $62,393.00
Wroblewski, R.         (I)      $425        174.30      $74,077.50
Malonzo, F.           (PL)      $340         60.70      $20,638.00
Carpio, A.            (PL)      $325         70.00      $22,750.00
Rogers, D.            (PL)      $325         36.70      $11,927.50
Mehringer, L.         (PL)      $325         28.90       $9,392.50
Russo, M.             (PL)      $300        158.80      $47,640.00
Farber, E.            (PL)      $205        187.80      $38,499.00
TOTAL                                    12,422.40   $6,653,033.00


_________________________
Partner                (P)
Of Counsel           (OC)
Associate              (A)
Staff Attorney       (SA)
Legal Analyst        (LA)
Investigator            (I)
Paralegal             (PL)




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                          Exhibit B
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                                           EXHIBIT B

                                     EXPENSES/CHARGES

                                 LABATON SUCHAROW LLP
                                 Inception through July 15, 2016

                              CATEGORY                                             TOTAL
Transportation, Hotels, and Meals                                                   $9,360.67
Long Distance Telephone, Facsimile, and Conference Calls                            $1,292.21
Postage                                                                                 $6.00
Messenger, Overnight Delivery                                                         $864.32
Court Hearing and Deposition Reporting, and Transcripts                              $331.38
Experts - Mining                                                                    $6,312.50
Duplicating                                                                        $43,281.80
            In-House Black and White: (201,394 copies at $0.20 per
                                                                     $40,278.80
            page)
            In-House Color: (15,015 copies at $0.20 per page)         $3,003.00
Online Legal and Financial Research                                                $25,703.31
Litigation Fund Contribution                                                      $150,800.00
Outstanding Litigation Fund Costs                                                  $48,776.41
TOTAL                                                                             $286,728.60
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                          Exhibit C
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                                          EXHIBIT C



 Transportation, Hotels & Meals: $9,360.67.

   -   Out-of-Town Transportation, Hotels & Meals: $4,103.54 (detailed below, there was no
       First-Class airfare)

   -   Local Work-Related Transportation & Meals: $5,257.13



       NAME               DATE          DESTINATION                     PURPOSE
                      05/08/2013 -
J. Pontrelli                          Toronto, Canada       Meet with CW
                      05/09/2013
                      05/08/2013 -
T. Polk                               Toronto, Canada       Meet with CW
                      05/09/2013
                      12/20/2015 -
C. Fox                                Houston, TX           Stice Deposition
                      12/22/2015
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                          Exhibit D
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                                        EXHIBIT D


Court Hearing and Deposition Reporting, and Transcripts: $331.38.


  DATE                         VENDOR                                  PURPOSE
 7/17/2013         Southern District Court Reporters        Transcript of proceedings in
                                                            Steinberg v Ericsson
 8/14/2014         Southern District Court Reporters        Transcript of proceedings in
                                                            Steinberg v Ericsson
 8/14/2014         Southern District Court Reporters        Transcript of proceedings in
                                                            Woodward v. Raymond James
 11/9/2015         Southern District Court Reporters        Transcript of Status Conference
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                          Exhibit E
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                                        EXHIBIT E


Duplicating: $43,281.80

       In-House Black and White (201,394 copies at $0.20 per copy): $40,278.80
       In-House Color (15,015 copies at $0.20 per copy):            $ 3,003.00
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                          Exhibit F
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                                  EXHIBIT F


                      LITIGATION FUND BREAKDOWN

                         Inception through July 15, 2016
DEPOSITS:                                                           TOTALS
Labaton Sucharow LLP                                                 $150,800.00
Motley Rice LLC                                                      $278,400.00
Robbins Geller Rudman & Dowd LLP                                     $152,800.00
TOTAL DEPOSITS                                                       $582,000.00


EXPENSES INCURRED BY THE LITIGATION FUND:
Experts                                                              $517,602.80
  Loss Causation/Market Efficiency/Damages            $318,405.62
  Accounting/Controls                                 $176,697.18
  Mining                                               $22,500.00
Court Reporting Services                                               $2,837.13
   Southern District Reporters                            $341.03
   Esquire Deposition Solutions                         $1,936.60
   Golkow                                                 $559.50
Process Service - Will Davidson                                        $2,898.08
Mediator - Phillips ADR                                               $66,770.84
Translation - Transperfect Translations International                    $700.00
Investigation                                                         $39,967.56
   Catherine G. Langlois – CA letters rogatory          $4,213.73
   Csuite Law – CA letters rogatory                     $6,887.48
   McInnes Cooper – CA letters rogatory                 $4,953.89
   Correa Gubbins – Chile letters rogatory              $5,750.00
   Kingsbridge Investigation Services – CA letters
                                                          $805.58
       rogatory
   Outten & Golden LLP – CW Counsel                    $17,356.88

TOTAL EXPENSES OF LITIGATION FUND                                    $630,776.41

BALANCE REMAINING IN LITIGATION FUND AS OF JULY 15,
                                                                    ($48,776.41)
2015
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                          Exhibit G
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                                                                         Firm Resume
                                            Securities Class Action Litigation




New York 140 Broadway | New York, NY 10005 | 212-907-0700 main | 212-818-0477 fax | www.labaton.com
Delaware   300 Delaware Avenue, Suite 1340 | Wilmington, DE 19801 | 302-573-2540 main | 302-573-2529 fax
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About the Firm
Founded in 1963, Labaton Sucharow LLP has earned a reputation as one of the leading plaintiffs firms in the
United States. We have recovered more than $10 billion and secured corporate governance reforms on behalf
of the nation’s largest institutional investors, including public pension and Taft-Hartley funds, hedge funds,
investment banks, and other financial institutions. These recoveries include more than $1 billion in In re
American International Group, Inc. Securities Litigation, $671 million in In re HealthSouth Securities Litigation,
$624 million in In re Countrywide Financial Corporation Securities Litigation, and $473 million in In re Schering-
Plough/ENHANCE Securities Litigation.

As a leader in the field of complex litigation, the Firm has successfully conducted class, mass, and derivative
actions in the following areas: securities; antitrust; financial products and services; corporate governance and
shareholder rights; mergers and acquisitions; derivative; REITs and limited partnerships; consumer protection;
and whistleblower representation.

Along with securing newsworthy recoveries, the Firm has a track record for successfully prosecuting complex
cases from discovery to trial to verdict. In court, as Law360 has noted, our attorneys are known for “fighting
defendants tooth and nail.” Our appellate experience includes winning appeals that increased settlement value
for clients, and securing a landmark 2013 U.S. Supreme Court victory benefitting all investors by reducing
barriers to the certification of securities class action cases.

Our Firm is equipped to deliver results with a robust infrastructure of more than 60 full-time attorneys, a
dynamic professional staff, and innovative technological resources. Labaton Sucharow attorneys are skilled in
every stage of business litigation and have challenged corporations from every sector of the financial markets.
Our professional staff includes paralegals, financial analysts, e-discovery specialists, a certified public
accountant, a certified fraud examiner, and a forensic accountant. With seven investigators, including former
members of federal and state law enforcement, we have one of the largest in-house investigative teams in the
securities bar. Managed by a law enforcement veteran who spent 12 years with the FBI, our internal
investigative group provides us with information that is often key to the success of our cases.

Outside of the courtroom, the Firm is known for its leadership and participation in investor protection
organizations, such as the Council for Institutional Investors, World Federation of Investors, National
Association of Shareholder and Consumer Attorneys, as well as serving as a patron of the John L. Weinberg
Center for Corporate Governance of the University of Delaware. The Firm shares these groups’ commitment to
a market that operates with greater transparency, fairness, and accountability.

Labaton Sucharow has been consistently ranked as a top-tier firm in leading industry publications such as
Chambers & Partners USA, The Legal 500, and Benchmark Litigation. For the past decade, the Firm was listed
on The National Law Journal’s Plaintiffs’ Hot List and was inducted to the Hall of Fame for successive honors.
The Firm has also been featured as one of Law360’s Most Feared Plaintiffs Firms and Class Action Practice
Groups of the Year.

Visit www.labaton.com for more information about our Firm.




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Securities Class Action Litigation
Labaton Sucharow is a leader in securities litigation and a trusted advisor to more than 200 institutional
investors. Since the passage of the Private Securities Litigation Reform Act of 1995 (PSLRA), the Firm has
recovered more than $8 billion in the aggregate for injured investors through securities class actions
prosecuted throughout the United States and against numerous public corporations and other corporate
wrongdoers.

These notable recoveries would not be possible without our exhaustive case evaluation process. The Firm has
developed a proprietary system for portfolio monitoring and reporting on domestic and international securities
litigation, and currently provides these services to more than 160 institutional investors, which manage
collective assets of more than $2 trillion. The Firm’s in-house licensed investigators also gather crucial details to
support our cases, whereas other firms rely on outside vendors, or conduct no confidential investigation at all.

As a result of our thorough case evaluation process, our securities litigators can focus solely on cases with
strong merits. The benefits of our selective approach are reflected in the low dismissal rate of the securities
cases we pursue, which is well below the industry average. In the last five years alone, we have successfully
prosecuted headline-making class actions against AIG, Countrywide, Fannie Mae, and Bear Stearns, among
others.



Notable Successes
Labaton Sucharow has achieved notable successes in major securities litigations on behalf of investors,
including the following:

       In re American International Group, Inc. Securities Litigation, No. 04-cv-8141, (S.D.N.Y.)

        In one of the most complex and challenging securities cases in history, Labaton Sucharow secured
        more than $1 billion in recoveries on behalf of lead plaintiff Ohio Public Employees’ Retirement System
        in a case arising from allegations of bid rigging and accounting fraud. To achieve this remarkable
        recovery, the Firm took over 100 depositions and briefed 22 motions to dismiss. The settlement
        entailed a $725 million settlement with American International Group (AIG), $97.5 million settlement
        with AIG’s auditors, $115 million settlement with former AIG officers and related defendants, and an
        additional $72 million settlement with General Reinsurance Corporation, which was approved by the
        Second Circuit on September 11, 2013.

       In re Countrywide Financial Corp. Securities Litigation, No. 07-cv-05295 (C.D. Cal.)

        Labaton Sucharow, as lead counsel for the New York State Common Retirement Fund and the five
        New York City public pension funds, sued one of the nation’s largest issuers of mortgage loans for
        credit risk misrepresentations. The Firm’s focused investigation and discovery efforts uncovered
        incriminating evidence that led to a $624 million settlement for investors. On February 25, 2011, the
        court granted final approval to the settlement, which is one of the top 20 securities class action
        settlements in the history of the PSLRA.

       In re HealthSouth Corp. Securities Litigation, No. 03-cv-01500 (N.D. Ala.)

        Labaton Sucharow served as co-lead counsel to New Mexico State Investment Council in a case
        stemming from one of the largest frauds ever perpetrated in the healthcare industry. Recovering $671
        million for the class, the settlement is one of the top 15 securities class action settlements of all time. In

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    early 2006, lead plaintiffs negotiated a settlement of $445 million with defendant HealthSouth. On
    June 12, 2009, the court also granted final approval to a $109 million settlement with defendant Ernst
    & Young LLP. In addition, on July 26, 2010, the court granted final approval to a $117 million partial
    settlement with the remaining principal defendants in the case, UBS AG, UBS Warburg LLC, Howard
    Capek, Benjamin Lorello, and William McGahan.

   In re Schering-Plough/ENHANCE Securities Litigation, No. 08-cv-00397 (D. N.J.)

    As co-lead counsel, Labaton Sucharow obtained a $473 million settlement on behalf of co-lead plaintiff
    Massachusetts Pension Reserves Investment Management Board. After five years of litigation, and
    three weeks before trial, the settlement was approved on October 1, 2013. This recovery is the largest
    securities fraud class action settlement against a pharmaceutical company. The Special Masters’ Report
    noted, "the outstanding result achieved for the class is the direct product of outstanding skill and
    perseverance by Co-Lead Counsel…no one else…could have produced the result here—no
    government agency or corporate litigant to lead the charge and the Settlement Fund is the
    product solely of the efforts of Plaintiffs' Counsel."

   In re Waste Management, Inc. Securities Litigation, No. H-99-2183 (S.D. Tex.)

    In 2002, the court approved an extraordinary settlement that provided for recovery of $457 million in
    cash, plus an array of far-reaching corporate governance measures. Labaton Sucharow represented
    lead plaintiff Connecticut Retirement Plans and Trust Funds. At that time, this settlement was the
    largest common fund settlement of a securities action achieved in any court within the Fifth Circuit and
    the third largest achieved in any federal court in the nation. Judge Harmon noted, among other things,
    that Labaton Sucharow “obtained an outstanding result by virtue of the quality of the work and
    vigorous representation of the class.”

   In re General Motors Corp. Securities Litigation, No. 06-cv-1749, (E.D. Mich.)

    As co-lead counsel in a case against automotive giant, General Motors (GM), and Deloitte & Touche
    LLP (Deloitte), its auditor, Labaton Sucharow obtained a settlement of $303 million—one of the largest
    settlements ever secured in the early stages of a securities fraud case. Lead plaintiff Deka Investment
    GmbH alleged that GM, its officers, and its outside auditor overstated GM’s income by billions of
    dollars, and GM’s operating cash flows by tens of billions of dollars, through a series of accounting
    manipulations. The final settlement, approved on July 21, 2008, consisted of a cash payment of
    $277 million by GM and $26 million in cash from Deloitte.

   Wyatt v. El Paso Corp., No. H-02-2717 (S.D. Tex.)

    Labaton Sucharow secured a $285 million class action settlement against the El Paso Corporation on
    behalf of co-lead plaintiff, an individual. The case involved a securities fraud stemming from the
    company’s inflated earnings statements, which cost shareholders hundreds of millions of dollars during
    a four-year span. On March 6, 2007, the court approved the settlement and also commended the
    efficiency with which the case had been prosecuted, particularly in light of the complexity of the
    allegations and the legal issues.

   In re Massey Energy Co. Securities Litigation, No. 10-CV-00689 (S.D. W.Va.)

    As co-lead counsel representing the Commonwealth of Massachusetts Pension Reserves Investment
    Trust, Labaton Sucharow achieved a $265 million all-cash settlement in a case arising from one of the
    most notorious mining disasters in U.S. history. On June 4, 2014, the settlement was reached with
    Alpha Natural Resources, Massey’s parent company. Investors alleged that Massey falsely told
    investors it had embarked on safety improvement initiatives and presented a new corporate image


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    following a deadly fire at one of its coal mines in 2006. After another devastating explosion which
    killed 29 miners in 2010, Massey’s market capitalization dropped by more than $3 billion. Judge Irene
    C. Berger noted that “Class counsel has done an expert job of representing all of the class
    members to reach an excellent resolution and maximize recovery for the class.”

   Eastwood Enterprises, LLC v. Farha (WellCare Securities Litigation),
    No. 07-cv-1940 (M.D. Fla.)

    On behalf of The New Mexico State Investment Council and the Public Employees Retirement
    Association of New Mexico, Labaton Sucharow served as co-lead counsel and negotiated a
    $200 million settlement over allegations that WellCare Health Plans, Inc., a Florida-based managed
    healthcare service provider, disguised its profitability by overcharging state Medicaid programs. Under
    the terms of the settlement approved by the court on May 4, 2011, WellCare agreed to pay an
    additional $25 million in cash if, at any time in the next three years, WellCare was acquired or
    otherwise experienced a change in control at a share price of $30 or more after adjustments for
    dilution or stock splits.

   In re Bristol-Myers Squibb Securities Litigation, No. 00-cv-1990 (D.N.J.)

    Labaton Sucharow served as lead counsel representing the lead plaintiff, union-owned LongView
    Collective Investment Fund of the Amalgamated Bank, against drug company Bristol-Myers Squibb
    (BMS). Lead plaintiff claimed that the company’s press release touting its new blood pressure
    medication, Vanlev, left out critical information, other results from the clinical trials indicated that
    Vanlev appeared to have life-threatening side effects. The FDA expressed serious concerns about
    these side effects, and BMS released a statement that it was withdrawing the drug's FDA application,
    resulting in the company's stock price falling and losing nearly 30 percent of its value in a single day.
    After a five year battle, we won relief on two critical fronts. First, we secured a $185 million recovery
    for shareholders, and second, we negotiated major reforms to the company's drug development
    process that will have a significant impact on consumers and medical professionals across the globe.
    Due to our advocacy, BMS must now disclose the results of clinical studies on all of its drugs marketed
    in any country.

   In re Fannie Mae 2008 Securities Litigation, No. 08-cv-7831 (S.D.N.Y.)

    As co-lead counsel representing co-lead plaintiff Boston Retirement System, Labaton Sucharow
    secured a $170 million settlement on March 3, 2015 with Fannie Mae. Lead plaintiffs alleged that
    Fannie Mae and certain of its current and former senior officers violated federal securities laws, by
    making false and misleading statements concerning the company’s internal controls and risk
    management with respect to Alt-A and subprime mortgages. Lead plaintiffs also alleged that
    defendants made misstatements with respect to Fannie Mae’s core capital, deferred tax assets, other-
    than-temporary losses, and loss reserves. This settlement is a significant feat, particularly following the
    unfavorable result in a similar case for investors of Fannie Mae’s sibling company, Freddie Mac.
    Labaton Sucharow successfully argued that investors' losses were caused by Fannie Mae's
    misrepresentations and poor risk management, rather than by the financial crisis.

   In re Broadcom Corp. Class Action Litigation, No. 06-cv-05036 (C.D. Cal.)

    Labaton Sucharow served as lead counsel on behalf of lead plaintiff New Mexico State Investment
    Council in a case stemming from Broadcom Corp.’s $2.2 billion restatement of its historic financial
    statements for 1998 - 2005. In August 2010, the court granted final approval of a $160.5 million
    settlement with Broadcom and two individual defendants to resolve this matter, the second largest up-
    front cash settlement ever recovered from a company accused of options backdating. Following a
    Ninth Circuit ruling confirming that outside auditors are subject to the same pleading standards as all


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    other defendants, the district court denied Broadcom’s auditor Ernst & Young’s motion to dismiss on
    the ground of loss causation. This ruling is a major victory for the class and a landmark decision by the
    court—the first of its kind in a case arising from stock-options backdating. In October 2012, the court
    approved a $13 million settlement with Ernst & Young.

   In re Satyam Computer Services Ltd. Securities Litigation, No. 09-md-2027 (S.D.N.Y.)

    Satyam, referred to as “India’s Enron,” engaged in one of the most egregious frauds on record. In a
    case that rivals the Enron and Bernie Madoff scandals, the Firm represented lead plaintiff UK-based
    Mineworkers' Pension Scheme, which alleged that Satyam Computer Services Ltd., related entities, its
    auditors, and certain directors and officers made materially false and misleading statements to the
    investing public about the company’s earnings and assets, artificially inflating the price of Satyam
    securities. On September 13, 2011, the court granted final approval to a settlement with Satyam of
    $125 million and a settlement with the company’s auditor, PricewaterhouseCoopers, in the amount of
    $25.5 million. Judge Barbara S. Jones commended lead counsel during the final approval hearing
    noting that the “…quality of representation which I found to be very high…”

   In re Mercury Interactive Corp. Securities Litigation, No. 05-cv-3395 (N.D. Cal.)

    Labaton Sucharow served as co-lead counsel on behalf of co-lead plaintiff Steamship Trade
    Association/International Longshoremen’s Association Pension Fund, which alleged Mercury backdated
    option grants used to compensate employees and officers of the company. Mercury’s former CEO,
    CFO, and General Counsel actively participated in and benefited from the options backdating scheme,
    which came at the expense of the company’s shareholders and the investing public. On September 25,
    2008, the court granted final approval of the $117.5 million settlement.

   In re Oppenheimer Champion Fund Securities Fraud Class Actions, No. 09-cv-525 (D.
    Colo.) and In re Core Bond Fund, No. 09-cv-1186 (D. Colo.)

    Labaton Sucharow served as lead counsel and represented individuals and the proposed class in two
    related securities class actions brought against OppenheimerFunds, Inc., among others, and certain
    officers and trustees of two funds—Oppenheimer Core Bond Fund and Oppenheimer Champion
    Income Fund. The lawsuits alleged that the investment policies followed by the funds resulted in
    investor losses when the funds suffered drops in net asset value although the funds were presented as
    safe and conservative investments to consumers. In May 2011, the Firm achieved settlements
    amounting to $100 million: $52.5 million in In re Oppenheimer Champion Fund Securities Fraud Class
    Actions, and a $47.5 million settlement in In re Core Bond Fund.

   In re Computer Sciences Corporation Securities Litigation, No. 11-cv-610 (E.D. Va.)

    As lead counsel representing Ontario Teachers’ Pension Plan Board, Labaton Sucharow secured a
    $97.5 million settlement in this “rocket docket” case involving accounting fraud. The settlement was
    the third largest all cash recovery in a securities class action in the Fourth Circuit and the second
    largest all cash recovery in such a case in the Eastern District of Virginia. The plaintiffs alleged that IT
    consulting and outsourcing company Computer Sciences Corporation (CSC) fraudulently inflated its
    stock price by misrepresenting and omitting the truth about the state of its most visible contract and
    the state of its internal controls. In particular, the plaintiffs alleged that CSC assured the market that it
    was performing on a $5.4 billion contract with the UK National Health Services when CSC internally
    knew that it could not deliver on the contract, departed from the terms of the contract, and as a result,
    was not properly accounting for the contract. Judge T.S. Ellis, III stated, “I have no doubt—that the
    work product I saw was always of the highest quality for both sides.”




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Lead Counsel Appointments in Ongoing Litigation
Labaton Sucharow’s institutional investor clients are regularly chosen by federal judges to serve as lead
plaintiffs in prominent securities litigations brought under the PSLRA. Dozens of public pension funds and
union funds have selected Labaton Sucharow to represent them in federal securities class actions and advise
them as securities litigation/investigation counsel. Our recent notable lead and co-lead counsel appointments
include the following:

      In re Goldman Sachs Group, Inc. Securities Litigation, No. 10-cv-03461 (S.D.N.Y)

       Labaton Sucharow represents Arkansas Teacher Retirement System in this high-profile litigation based
       on the scandals involving Goldman Sachs’ sales of the Abacus CDO.

      In re Facebook, Inc., IPO Securities and Derivative Litigation, No. 12-md-02389 (S.D.N.Y.)

       Labaton Sucharow represents North Carolina Department of State Treasurer and Arkansas Teacher
       Retirement System in this securities class action that involves one of the largest initial public offerings
       for a technology company.

      3226701 Canada Inc. v. Qualcomm, Inc., No. 15-cv-2678 (S.D. Cal.)

       Labaton Sucharow represents The Public Employees Retirement System of Mississippi in this securities
       class action against a leader in 3G and next-generation mobile technologies.

      Plumbers and Steamfitters Local 137 Pension Fund v. American Express Co., No. 15-cv-
       05999 (S.D.N.Y.)

       Labaton Sucharow represents Pipefitters Union Local 537 Pension Fund in this class action against one
       of the country’s largest credit card lenders to reveal the company’s hidden cost of losing its Costco
       partnership.

      Avila v. LifeLock, Inc., No. 15-cv-01398 (D. Ariz.)

       Labaton Sucharow represents Oklahoma Firefighters Pension and Retirement System in the securities
       class action against LifeLock, Inc., an identity theft protection company, alleging major security flaws.

      In re Intuitive Surgical Securities Litigation, No. 13-cv-01920 (N.D. Cal.)

       Labaton Sucharow represents the Employees’ Retirement System of the State of Hawaii in this
       securities class action alleging violations of securities fraud laws by concealing FDA regulations
       violations and a dangerous defect in the company’s primary product, the da Vinci Surgical System.

      In re KBR, Inc. Securities Litigation, No. 14-cv-01287 (S.D. Tex.)

       Labaton Sucharow represents the IBEW Local No. 58 / SMC NECA Funds in this securities class action
       alleging misrepresentation of certain Canadian construction contracts.




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Innovative Legal Strategy
Bringing successful litigation against corporate behemoths during a time of financial turmoil presents many
challenges, but Labaton Sucharow has kept pace with the evolving financial markets and with corporate
wrongdoer’s novel approaches to committing fraud.

Our Firm’s innovative litigation strategies on behalf of clients include the following:

       Mortgage-Related Litigation

        In In re Countrywide Financial Corporation Securities Litigation, No. 07-cv-5295 (C.D. Cal.), our client’s
        claims involved complex and data-intensive arguments relating to the mortgage securitization process
        and the market for residential mortgage-backed securities (RMBS) in the United States. To prove that
        defendants made false and misleading statements concerning Countrywide’s business as an issuer of
        residential mortgages, Labaton Sucharow utilized both in-house and external expert analysis. This
        included state-of-the-art statistical analysis of loan level data associated with the creditworthiness of
        individual mortgage loans. The Firm recovered $624 million on behalf of investors.

        Building on its experience in this area, the Firm has pursued claims on behalf of individual purchasers
        of RMBS against a variety of investment banks for misrepresentations in the offering documents
        associated with individual RMBS deals.

       Options Backdating

        In 2005, Labaton Sucharow took a pioneering role in identifying options-backdating practices as both
        damaging to investors and susceptible to securities fraud claims, bringing a case, In re Mercury
        Interactive Securities Litigation, No. 05-cv-3395 (N.D. Cal.), that spawned many other plaintiff
        recoveries.

        Leveraging its experience, the Firm went on to secure other significant options backdating
        settlements, in, for example, In re Broadcom Corp. Class Action Litigation, No. 06-cv-5036 (C.D. Cal.),
        and in In re Take-Two Interactive Securities Litigation, No. 06-cv-0803 (S.D.N.Y.). Moreover, in Take-
        Two, Labaton Sucharow was able to prompt the SEC to reverse its initial position and agree to
        distribute a disgorgement fund to investors, including class members. The SEC had originally planned
        for the fund to be distributed to the U.S. Treasury. As a result, investors received a very significant
        percentage of their recoverable damages.

       Foreign Exchange Transactions Litigation

        The Firm has pursued or is pursuing claims for state pension funds against BNY Mellon and State
        Street Bank, the two largest custodian banks in the world. For more than a decade, these banks failed
        to disclose that they were overcharging their custodial clients for foreign exchange transactions. Given
        the number of individual transactions this practice affected, the damages caused to our clients and the
        class were significant. Our claims, involving complex statistical analysis, as well as qui tam
        jurisprudence, were filed ahead of major actions by federal and state authorities related to similar
        allegations commenced in 2011. Our team favorably resolved the BNY Mellon matter in 2012. The case
        against State Street Bank is still ongoing.




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Appellate Advocacy and Trial Experience
When it is in the best interest of our clients, Labaton Sucharow repeatedly has demonstrated our willingness
and ability to litigate these complex cases all the way to trial, a skill unmatched by many firms in the plaintiffs
bar.

Labaton Sucharow is one of the few firms in the plaintiffs securities bar to have prevailed in a case before the
U.S. Supreme Court. In Amgen v. Connecticut Retirement Plans & Trust Funds, 133 S. Ct. 1184 (Feb. 27, 2013),
the Firm persuaded the court to reject efforts to thwart the certification of a class of investors seeking
monetary damages in a securities class action. This represents a significant victory for all plaintiffs in securities
class actions.

In In re Real Estate Associates Limited Partnership Litigation, Labaton Sucharow’s advocacy significantly
increased the settlement value for shareholders. The defendants were unwilling to settle for an amount the
Firm and its clients viewed as fair, which led to a six-week trial. The Firm and co-counsel ultimately obtained a
landmark $184 million jury verdict. The jury supported the plaintiffs’ position that the defendants knowingly
violated the federal securities laws, and that the general partner had breached his fiduciary duties to
shareholders. The $184 million award was one of the largest jury verdicts returned in any PSLRA action and one
in which the class, consisting of 18,000 investors, recovered 100 percent of their damages.




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Our Clients
Labaton Sucharow represents and advises the following institutional investor clients, among others:

      Arkansas Teacher Retirement System             Mississippi Public Employees’ Retirement
                                                       System

      Baltimore County Retirement System             New York City Pension Funds

      Boston Retirement System                       New York State Common Retirement Fund

      California Public Employees’                   Norfolk County Retirement System
       Retirement System

      California State Teachers’ Retirement          Office of the Ohio Attorney General and
       System                                          several of its Retirement Systems

      City of New Orleans Employees’                 Oklahoma Firefighters Pension and Retirement
       Retirement System                               System

      Connecticut Retirement Plans & Trust           Plymouth County Retirement System
       Funds

      Division of Investment of the New              Office of the New Mexico Attorney General
       Jersey Department of the Treasury               and several of its Retirement Systems

      Genesee County Employees’                      Public Employee Retirement System of Idaho
       Retirement System

      Illinois Municipal Retirement Fund             Rhode Island State Investment Commission

      Teachers’ Retirement System of                 San Francisco Employees’ Retirement System
       Louisiana

      Macomb County Employees                        Santa Barbara County Employees’ Retirement
       Retirement System                               System

      Metropolitan Atlanta Rapid Transit             State of Oregon Public Employees’ Retirement
       Authority                                       System

      Michigan Retirement Systems                    State of Wisconsin Investment Board

                                                      Virginia Retirement System




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Awards and Accolades
Industry publications and peer rankings consistently recognize the Firm as a respected leader in securities
litigation.



Chambers & Partners USA
Leading Plaintiffs Securities Litigation Firm (2009-2016)

        effective and greatly respected…a bench of partners who are highly esteemed by
        competitors and adversaries alike



The Legal 500
Leading Plaintiffs Securities Litigation Firm and also recognized in Antitrust (2010-2016) and M&A Litigation
(2013, 2015-2016)

        'Superb' and 'at the top of its game.' The Firm's team of 'hard-working lawyers,
        who push themselves to thoroughly investigate the facts' and conduct 'very
        diligent research.'



Benchmark Litigation
Highly Recommended, top recognition, in Securities and Antitrust Litigation (2012-2016)

        clearly living up to its stated mission 'reputation matters'...consistently earning
        mention as a respected litigation-focused firm fighting for the rights of
        institutional investors



Law360
Most Feared Plaintiffs Firm (2013-2015) and Class Action Practice Group of the Year (2012 and
2014-2015)

        known for thoroughly investigating claims and conducting due diligence before
        filing suit, and for fighting defendants tooth and nail in court



The National Law Journal
Winner of the Elite Trial Lawyers Award in Securities Law (2015), Hall of Fame Honoree, and Top Plaintiffs’
Firm on the annual Hot List (2006-2016)

        definitely at the top of their field on the plaintiffs’ side


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Community Involvement
To demonstrate our deep commitment to the community, Labaton Sucharow devotes significant resources to
pro bono legal work and public and community service.



Firm Commitments
Brooklyn Law School Securities Arbitration Clinic
Mark S. Arisohn, Adjunct Professor and Joel H. Bernstein, Adjunct Professor

Labaton Sucharow has partnered with Brooklyn Law School to establish a securities arbitration clinic. The
program serves a dual purpose: to assist defrauded individual investors who cannot otherwise afford to pay for
legal counsel; and to provide students with real-world experience in securities arbitration and litigation.
Partners Mark S. Arisohn and Joel H. Bernstein lead the program as adjunct professors.

Change for Kids

Labaton Sucharow supports Change for Kids (CFK) as a leading sponsor of P.S. 182 in East Harlem. One school
at a time, CFK rallies communities to provide a broad range of essential educational opportunities at under-
resourced public elementary schools. By creating inspiring learning environments at our partner schools, CFK
enables students to discover their unique strengths and develop the confidence to achieve.

The Lawyers’ Committee for Civil Rights Under Law
Edward Labaton, Member, Board of Directors

The Firm is a long-time supporter of The Lawyers’ Committee for Civil rights Under Law, a nonpartisan,
nonprofit organization formed in 1963 at the request of President John F. Kennedy. The Lawyers’ Committee
involves the private bar in providing legal services to address racial discrimination.

Labaton Sucharow attorneys have contributed on the federal level to U.S. Supreme Court nominee analyses
(analyzing nominees for their views on such topics as ethnic equality, corporate diversity, and gender
discrimination) and national voters’ rights initiatives.

Sidney Hillman Foundation

Labaton Sucharow supports the Sidney Hillman Foundation. Created in honor of the first president of the
Amalgamated Clothing Workers of America, Sidney Hillman, the foundation supports investigative and
progressive journalism by awarding monthly and yearly prizes. Partner Thomas A. Dubbs is frequently invited
to present these awards.




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Individual Attorney Commitments
Labaton Sucharow attorneys have served in a variety of pro bono and community service capacities:

      Pro bono representation of mentally ill tenants facing eviction, appointed as Guardian ad litem in
       several housing court actions.

      Recipient of a Volunteer and Leadership Award from a tenants’ advocacy organization for work
       defending the rights of city residents and preserving their fundamental sense of public safety and
       home.

      Board Member of the Ovarian Cancer Research Fund—the largest private funding agency of its kind
       supporting research into a method of early detection and, ultimately, a cure for ovarian cancer.

      Director of the BARKA Foundation, which provides fresh water to villages in Burkina Faso.

      Founder of the Lillian C. Spencer Fund—a charitable organization that provides scholarships to
       underprivileged American children and emergency dental care to refugee children in Guatemala.

Our attorneys have also contributed to or continue to volunteer with the following charitable organizations,
among others:


      American Heart Association                           Legal Aid Society

      Big Brothers/Big Sisters of New York City            Mentoring USA

      Boys and Girls Club of America                       National Lung Cancer Partnership

      Carter Burden Center for the Aging                   National MS Society

      City Harvest                                         National Parkinson Foundation

      City Meals-on-Wheels                                 New York Cares

      Coalition for the Homeless                           New York Common Pantry

      Cycle for Survival                                   Peggy Browning Fund

      Cystic Fibrosis Foundation                           Sanctuary for Families

      Dana Farber Cancer Institute                         Sandy Hook School Support Fund

      Food Bank for New York City                          Save the Children

      Fresh Air Fund                                       Special Olympics

      Habitat for Humanity                                 Toys for Tots

      Lawyers Committee for Civil Rights                   Williams Syndrome Association




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Commitment to Diversity
Recognizing that business does not always offer equal opportunities for advancement and collaboration to
women, Labaton Sucharow launched its Women’s Networking and Mentoring Initiative in 2007.

The Women’s Initiative, led by partner and Executive Committee member Martis Alex, reflects our
commitment to the advancement of women professionals. The goal of the Initiative is to bring professional
women together to collectively advance women’s influence in business. Each event showcases a successful
woman role model as a guest speaker. We actively discuss our respective business initiatives and hear the
guest speaker’s strategies for success. Labaton Sucharow mentors young women inside and outside of the firm
and promotes their professional achievements. The Firm also is a member of the National Association of
Women Lawyers (NAWL). For more information regarding Labaton Sucharow’s Women’s Initiative, please visit
www.labaton.com/en/about/women/Womens-Initiative.cfm.

Further demonstrating our commitment to diversity in the legal profession and within our Firm, in 2006, we
established the Labaton Sucharow Minority Scholarship and Internship. The annual award—a grant and a
summer associate position—is presented to a first-year minority student who is enrolled at a metropolitan New
York law school and who has demonstrated academic excellence, community commitment, and personal
integrity.

Labaton Sucharow has also instituted a diversity internship which brings two Hunter College students to work
at the Firm each summer. These interns rotate through various departments, shadowing Firm partners and
getting a feel for the inner workings of the Firm.




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Securities Litigation Attorneys
Our team of securities class action litigators includes:

Partners                                               Ira A. Schochet
Lawrence A. Sucharow (Chairman)                        Michael W. Stocker
Martis Alex                                            Carol C. Villegas
Mark S. Arisohn                                        Ned Weinberger
Christine S. Azar                                      Nicole M. Zeiss
Eric J. Belfi
Joel H. Bernstein                                      Of Counsel
Thomas A. Dubbs                                        Garrett J. Bradley

Jonathan Gardner                                       Marisa N. DeMato

David J. Goldsmith                                     Joseph H. Einstein

Louis Gottlieb                                         Christine M. Fox

Serena Hallowell                                       Mark Goldman

Thomas G. Hoffman, Jr.                                 Lara Goldstone

James W. Johnson                                       Domenico Minerva

Christopher J. Keller                                  Barry M. Okun

Edward Labaton
Christopher J. McDonald
                                                       Senior Counsel
                                                       Richard T. Joffe
Michael H. Rogers


Detailed biographies of the team’s qualifications and accomplishments follow.

Lawrence A. Sucharow, Chairman
lsucharow@labaton.com

With nearly four decades of experience, the Firm’s Chairman, Lawrence A. Sucharow is an internationally
recognized trial lawyer and a leader of the class action bar. Under his guidance, the Firm has grown into and
earned its position as one of the top plaintiffs securities and antitrust class action firms in the world. As
Chairman, Larry focuses on counseling the Firm’s large institutional clients, developing creative and compelling
strategies to advance and protect clients’ interests, and the prosecution and resolution of many of the Firm’s
leading cases.

Over the course of his career, Larry has prosecuted hundreds of cases and the Firm has recovered billions in
groundbreaking securities, antitrust, business transaction, product liability, and other class actions. In fact, a
landmark case tried in 2002—In re Real Estate Associates Limited Partnership Litigation—was the very first
securities action successfully tried to a jury verdict following the enactment of the Private Securities Litigation
Reform Act (PSLRA). Experience such as this has made Larry uniquely qualified to evaluate and successfully
prosecute class actions.


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Other representative matters include: In re CNL Resorts, Inc. Securities Litigation ($225 million settlement); In
re Paine Webber Incorporated Limited Partnerships Litigation ($200 million settlement); In re Prudential
Securities Incorporated Limited Partnerships Litigation ($110 million partial settlement); In re Prudential Bache
Energy Income Partnerships Securities Litigation ($91 million settlement) and Shea v. New York Life Insurance
Company (over $92 million settlement).

Larry’s consumer protection experience includes leading the national litigation against the tobacco companies
in Castano v. American Tobacco Co., as well as litigating In re Imprelis Herbicide Marketing, Sales Practices
and Products Liability Litigation. Currently, he plays a key role in In re Takata Airbag Products Liability
Litigation and a nationwide consumer class action against Volkswagen Group of America, Inc., arising out of
the wide-scale fraud concerning Volkswagen’s “Clean Diesel” vehicles. Larry further conceptualized the
establishment of two Dutch foundations, or “Stichtingen” to pursue settlement of claims against Volkswagen
on behalf of injured car owners and investors in Europe.

In recognition of his career accomplishments and standing in the securities bar at the Bar, Larry was selected
by Law360 as one the 10 Most Admired Securities Attorneys in the United States and as a Titan of the Plaintiffs
Bar. Further, he is one of a small handful of plaintiffs’ securities lawyers in the United States independently
selected by each of Chambers & Partners USA, The Legal 500, Benchmark Litigation, and Lawdragon 500 for
their respective highest rankings. Referred to as a “legend” by his peers in Benchmark Litigation, Chambers
describes him as an “an immensely respected plaintiff advocate” and a “renowned figure in the securities
plaintiff world…[that] has handled some of the most high-profile litigation in this field.” According to The Legal
500, clients characterize Larry as a “a strong and passionate advocate with a desire to win.” In addition,
Brooklyn Law School honored Larry with the 2012 Alumni of the Year Award for his notable achievements in
the field.

Larry has served a two-year term as President of the National Association of Shareholder and Consumer
Attorneys, a membership organization of approximately 100 law firms that practice complex civil litigation
including class actions. A longtime supporter of the Federal Bar Council, Larry serves as a trustee of the
Federal Bar Council Foundation. He is a member of the Federal Bar Council’s Committee on Second Circuit
Courts, and the Federal Courts Committee of the New York County Lawyers’ Association. He is also a member
of the Securities Law Committee of the New Jersey State Bar Association and was the Founding Chairman of
the Class Action Committee of the Commercial and Federal Litigation Section of the New York State Bar
Association, a position he held from 1988-1994. In addition, Larry serves on the Advocacy Committee of the
World Federation of Investors Corporation, a worldwide umbrella organization of national shareholder
associations. In May 2013, Larry was elected Vice Chair of the International Financial Litigation Network, a
network of law firms from 15 countries seeking international solutions to cross-border financial problems.

Larry is admitted to practice in the States of New York, New Jersey, and Arizona, as well as before the
Supreme Court of the United States, the United States Court of Appeals for the Second Circuit, and the United
States District Courts for the Southern and Eastern Districts of New York, and the District of New Jersey.

Martis Alex, Partner
malex@labaton.com

Martis Alex prosecutes complex litigation on behalf of consumers as well as domestic and international
institutional investors. She has extensive experience litigating mass tort and class action cases nationwide,
specifically in the areas of consumer fraud, products liability, and securities fraud. She has successfully
represented consumers and investors in cases that achieved cumulative recoveries of hundreds of millions of
dollars for plaintiffs.

Named one of Benchmark Litigation’s Top 250 Women in Litigation, Martis is an elected member of the Firm’s
Executive Committee and chairs the Firm’s Consumer Protection Practice as well as the Women’s Initiative.
Martis is also an Executive Council member of Ellevate, a global professional network dedicated to advancing
women’s leadership across industries.


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Martis leads the Firm's team litigating the consumer class action against auto manufacturers over keyless
ignition carbon monoxide deaths, as well as the first nationwide consumer class action concerning defective
Takata-made airbags.

Martis was a court-appointed member of the Plaintiffs’ Steering Committees in national product liability
actions against the manufacturers of orthopedic bone screws (In re Orthopedic Bone Screw Products Liability
Litigation), atrial pacemakers (In re Telectronics Pacing Systems, Inc. Accufix Atrial “J” Leads Product Liability
Litigation), latex gloves (In re Latex Gloves Products Liability Litigation), and suppliers of defective auto paint
(In re Ford Motor Company Vehicle Paint). She played a leadership role in the national litigation against the
tobacco companies (Castano v. American Tobacco Co.) and in the prosecution of the national breast implant
litigation (In re Silicone Gel Breast Implant Products Liability Litigation).

In her securities practice, Martis represents several foreign financial institutions seeking recoveries of more
than a billion dollars in losses in their RMBS investments.

Martis played a key role in litigating In re American International Group, Inc. Securities Litigation, recovering
more than $1 billion in settlements for investors. She was an integral part of the team that successfully litigated
In re Bristol-Myers Squibb Securities Litigation, which resulted in a $185 million settlement for investors and
secured meaningful corporate governance reforms that will affect future consumers and investors alike.

Martis acted as Lead Trial Counsel and Chair of the Executive Committee in the Zenith Laboratories Securities
Litigation, a federal securities fraud class action which settled during trial and achieved a significant recovery
for investors. In addition, she served as co-lead counsel in several securities class actions that attained
substantial awards for investors, including Cadence Design Securities Litigation, Halsey Drug Securities
Litigation, Slavin v. Morgan Stanley, Lubliner v. Maxtor Corp., and Baden v. Northwestern Steel and Wire.

Martis began her career as a trial lawyer with the Sacramento, California District Attorney’s Office, where she
tried over 30 cases to verdict. She has spoken on various legal topics at national conferences and is a recipient
of the American College of Trial Lawyers’ Award for Excellence in Advocacy.

Martis founded the Lillian C. Spencer Fund, a charitable organization that provides scholarships to
underprivileged American children and emergency dental care to refugee children in Guatemala. She is a
Director of the BARKA Foundation, which provides fresh water to villages in Burkina Faso, West Africa, and she
contributes to her local community through her work with Coalition for the Homeless and New York Cares.

Martis is admitted to practice in the States of California and New York as well as before the Supreme Court of
the United States, the United States Court of Appeals for the Second Circuit, and the United States District
Courts for the Western District of Washington, the Southern, Eastern and Western Districts of New York, and
the Central District of California.

Mark S. Arisohn, Partner
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Mark S. Arisohn focuses on prosecuting complex securities fraud cases on behalf of institutional investors.
Mark is an accomplished litigator, with nearly 40 years of extensive trial experience in jury and non-jury matters
in the state and federal courts nationwide. He has also argued in the New York Court of Appeals, the United
States Court of Appeals for the Second Circuit and appeared before the United States Supreme Court in the
landmark insider trading case of Chiarella v. United States.

Mark's wide-ranging practice has included prosecuting and defending individuals and corporations in cases
involving securities fraud, mail and wire fraud, bank fraud, and RICO violations. He has represented public
officials, individuals, and companies in the construction and securities industries as well as professionals
accused of regulatory offenses and professional misconduct. He also has appeared as trial counsel for both



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plaintiffs and defendants in civil fraud matters and corporate and commercial matters, including shareholder
litigation, business torts, unfair competition, and misappropriation of trade secrets.

Mark is one of the few litigators in the plaintiffs' bar to have tried two securities fraud class action cases to a
jury verdict.

Mark is an active member of the Association of the Bar of the City of New York and has served on its Judiciary
Committee, the Committee on Criminal Courts, Law and Procedure, the Committee on Superior Courts, and
the Committee on Professional Discipline. He serves as a mediator for the Complaint Mediation Panel of the
Association of the Bar of the City of New York where he mediates attorney client disputes and as a hearing
officer for the New York State Commission on Judicial Conduct where he presides over misconduct cases
brought against judges.

Mark also co-leads Labaton Sucharow’s Securities Arbitration pro bono project in conjunction with Brooklyn
Law School where he serves as an adjunct professor. Mark, together with Labaton Sucharow associates and
Brooklyn Law School students, represents aggrieved and defrauded individual investors who cannot otherwise
afford to pay for legal counsel in financial industry arbitration matters against investment advisors and
stockbrokers.

Mark was named to the recommended list in the field of Securities Litigation by The Legal 500 and recognized
by Benchmark Litigation as a Securities Litigation Star. He has also received a rating of AV Preeminent from
publishers of the Martindale-Hubbell directory.

Mark is admitted to practice in the State of New York and the District of Columbia as well as before the
Supreme Court of the United States, the United States Court of Appeals for the Second Circuit, and the United
States District Courts for the Southern, Eastern and Northern Districts of New York, the Northern District of
Texas, and the Northern District of California.

Christine S. Azar, Partner
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Christine S. Azar is the Chair of the Firm’s Corporate Governance and Shareholder Rights Litigation Practice. A
longtime advocate of shareholder rights, Christine prosecutes complex derivative and transactional litigation in
the Delaware Court of Chancery and throughout the United States.

In recognition of her accomplishments, Christine was most recently named one of the "25 Most Influential
Women in Securities Law" by Law360. Chambers & Partners USA ranked her as a Leading Lawyer in Delaware,
noting she is "well known for her knowledge of complex shareholder claims as well as M&A and other
transactional work." Chambers’ sources also defined her as "terrific,” noting, “when it comes to Delaware law
and corporate governance matters, Christine's advice and guidance is gold." In addition to her Chambers
recognition, Christine was named a Leading Lawyer by The Legal 500 who described her as “smart, pragmatic
and level-headed—a dedicated advocate who gets things done.” She was also featured on The National Law
Journal's Plaintiffs' Hot List, named a Securities Litigation Star in Delaware by Benchmark Litigation, and one of
Benchmark's Top 250 Women in Litigation for three consecutive years.

Christine’s caseload represents some of the most sophisticated litigation in her field. Currently, she is
representing California State Teachers’ Retirement System as co-lead counsel in In re Wal-Mart Derivative
Litigation. The suit alleges that Wal-Mart’s board of directors and management breached their fiduciary duties
owed to shareholders and the company as well as violated the company’s own corporate governance
guidelines, anti-corruption policy, and statement of ethics.

Christine has worked on some of the most groundbreaking cases in the field of M&A and derivative litigation.
In In re Freeport-McMoRan Copper & Gold Inc. Derivative Litigation, she achieved the second largest
derivative settlement in the Delaware Court of Chancery history, a $153.75 million settlement with an


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unprecedented provision of direct payments to stockholders by means of a special dividend. As co-lead
counsel in In re El Paso Corporation Shareholder Litigation, which shareholders alleged that acquisition of El
Paso by Kinder Morgan, Inc. was improperly influenced by conflicted financial advisors and management,
Christine helped secure a $110 million settlement. Acting as co-lead counsel in In re J.Crew Shareholder
Litigation, Christine helped secure a settlement that increased the payment to J.Crew's shareholders by $16
million following an allegedly flawed going-private transaction. Christine also assisted in obtaining $29 million
in settlements on behalf of Barnes & Noble investors in In re Barnes & Noble Stockholders Derivative
Litigation which alleged breaches of fiduciary duties by the Barnes & Noble management and board of
directors. In In re The Student Loan Corporation, Christine was part of the team that successfully protected the
minority shareholders in connection with a complex web of proposed transactions that ran contrary to
shareholders' interest by securing a recovery of nearly $10 million for shareholders.

Acting as co-lead counsel in In re RehabCare Group, Inc. Shareholders Litigation, Christine was part of the
team that structured a settlement that included a cash payment to shareholders as well as key deal reforms
such as enhanced disclosures and an amended merger agreement. Representing shareholders in In re
Compellent Technologies, Inc. Shareholder Litigation, regarding the proposed acquisition of Compellent
Technologies Inc. by Dell, Inc., Christine was integral in negotiating a settlement that included key deal
improvements including elimination of the “poison pill” and standstill agreement with potential future bidders
as well as a reduction of the termination fee amount. In In re Walgreen Co. Derivative Litigation, Christine
negotiated significant corporate governance reforms on behalf of West Palm Beach Police Pension Fund and
the Police Retirement System of St. Louis, requiring Walgreens to extend its Drug Enforcement Agency
commitments in this derivative action related to the company’s Controlled Substances Act violation.

In addition to her active legal practice, Christine serves as a Volunteer Guardian Ad Litem in the Office of the
Child Advocate. In this capacity, she has represented children in foster care in the state of Delaware to ensure
the protection of their legal rights. Christine is also a member of the Advisory Committee of the Weinberg
Center for Corporate Governance of the University of Delaware.

Christine is admitted to practice in the States of Delaware, New Jersey, and Pennsylvania as well as before the
United States Court of Appeals for the Third Circuit and the United States District Courts for the District of
Delaware, the District of New Jersey, and the Eastern District of Pennsylvania.

Eric J. Belfi, Partner
ebelfi@labaton.com

Representing many of the world’s leading pension funds and other institutional investors, Eric J. Belfi is an
accomplished litigator with experience in a broad range of commercial matters. Eric focuses on domestic and
international securities and shareholder litigation. He serves as a member of the Firm’s Executive Committee.

As an integral member of the Firm’s Case Evaluation group, Eric has brought numerous high-profile domestic
securities cases that resulted from the credit crisis, including the prosecution against Goldman Sachs. In In re
Goldman Sachs Group, Inc. Securities Litigation, he played a significant role in the investigation and drafting of
the operative complaint. Eric was also actively involved in securing a combined settlement of $18.4 million in In
re Colonial BancGroup, Inc. Securities Litigation, regarding material misstatements and omissions in SEC filings
by Colonial BancGroup and certain underwriters.

Along with his domestic securities litigation practice, Eric leads the Firm’s Non-U.S. Securities Litigation
Practice, which is dedicated exclusively to analyzing potential claims in non-U.S. jurisdictions and advising on
the risk and benefits of litigation in those forums. The practice, one of the first of its kind, also serves as liaison
counsel to institutional investors in such cases, where appropriate. Currently, Eric represents nearly 30
institutional investors in over a dozen non-U.S. cases against companies including SNC-Lavalin Group Inc. in
Canada, Vivendi Universal, S.A. in France, OZ Minerals Ltd. in Australia, Lloyds Banking Group in the UK, and
Olympus Corporation in Japan.



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Eric’s international experience also includes securing settlements on behalf of non-U.S. clients including the
UK-based Mineworkers’ Pension Scheme in In re Satyam Computer Securities Services Ltd. Securities
Litigation, an action related to one of the largest securities fraud in India which resulted in $150.5 million in
collective settlements. Representing two of Europe’s leading pension funds, Deka Investment GmbH and Deka
International S.A., Luxembourg, in In re General Motors Corp. Securities Litigation, Eric was integral in securing
a $303 million settlement in a case regarding multiple accounting manipulations and overstatements by
General Motors.

Additionally, Eric oversees the Financial Products & Services Litigation Practice, focusing on individual actions
against malfeasant investment bankers, including cases against custodial banks that allegedly committed
deceptive practices relating to certain foreign currency transactions. He currently serves as lead counsel to
Arkansas Teacher Retirement System in a class action against the State Street Corporation and certain
affiliated entities, and he has represented the Commonwealth of Virginia in its False Claims Act case against
Bank of New York Mellon, Inc.

Eric’s M&A and derivative experience includes noteworthy cases such as In re Medco Health Solutions Inc.
Shareholders Litigation, in which he was integrally involved in the negotiation of the settlement that included a
significant reduction in the termination fee.

Eric’s prior experience included serving as an Assistant Attorney General for the State of New York and as an
Assistant District Attorney for the County of Westchester. As a prosecutor, Eric investigated and prosecuted
white-collar criminal cases, including many securities law violations. He presented hundreds of cases to the
grand jury and obtained numerous felony convictions after jury trials.

Eric is a frequent speaker on the topic of shareholder litigation and U.S.-style class actions in European
countries. He also has spoken on socially responsible investments for public pension funds.

Eric is admitted to practice in the State of New York as well as before the United States District Courts for the
Southern and Eastern Districts of New York, the Eastern District of Michigan, the District of Colorado, the
District of Nebraska, and the Eastern District of Wisconsin.

Joel H. Bernstein, Partner
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With nearly four decades of experience in complex litigation, Joel H. Bernstein’s practice focuses on the
protection of victimized individuals. Joel advises large public and labor pension funds, banks, mutual funds,
insurance companies, hedge funds, and other institutional and individual investors with respect to securities-
related litigation in the federal and state courts, as well as in arbitration proceedings before the NYSE, FINRA,
and other self-regulatory organizations. His experience in the area of representing plaintiffs in complex
litigation has resulted in the recovery of more than a billion dollars in damages to wronged class members.

For several years Joel led the Firm’s Residential Mortgage-Backed Securities team, a group of more than 20
legal professionals representing large domestic and foreign institutional investors in 75 individual litigations
involving billions of dollars lost in fraudulently marketed investments at the center of the subprime crisis and
has successfully recovered hundreds of millions of dollars on their behalf thus far. He also currently serves as
lead counsel in class actions, including In re NII Holdings, Inc. Securities Litigation, Norfolk County Retirement
System v. Solazyme, Inc., and In re Facebook Biometric Information Privacy Litigation.

Joel recently led the team that secured a $265 million all-cash settlement for a class of investors in In re Massey
Energy Co. Securities Litigation, a matter that stemmed from the 2010 mining disaster at the company’s Upper
Big Branch coal mine. Joel also led the team that achieved a $120 million recovery with one of the largest
global providers of products and services for the oil and gas industry, Weatherford International in 2015. As
lead counsel for one of the most prototypical cases arising from the financial crisis, In re Countrywide



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Corporation Securities Litigation, he obtained a settlement of $624 million for co-lead plaintiffs, New York
State Common Retirement Fund and the New York City Pension Funds.

In the past, Joel has played a central role in numerous high profile cases, including In re Paine Webber
Incorporated Limited Partnerships Litigation ($200 million settlement); In re Prudential Securities Incorporated
Limited Partnerships Litigation ($130 million settlement); In re Prudential Bache Energy Income Partnerships
Securities Litigation ($91 million settlement); Shea v. New York Life Insurance Company ($92 million
settlement); and Saunders et al. v. Gardner ($10 million—the largest punitive damage award in the history of
NASD Arbitration at that time). In addition, Joel was instrumental in securing a $117.5 million settlement in In
re Mercury Interactive Securities Litigation, the largest settlement at the time in a securities fraud litigation
based upon options backdating. He also has litigated cases which arose out of deceptive practices by custodial
banks relating to certain foreign currency transactions.

Joel has been recommended by The Legal 500 in the field of Securities Litigation, where he was described by
sources as a “formidable adversary,” and by Benchmark Litigation as a Securities Litigation Star. He was also
featured in The AmLaw Litigation Daily as Litigator of the Week for his work on In re Countrywide Financial
Corporation Securities Litigation. Joel has received a rating of AV Preeminent from the publishers of the
Martindale-Hubbell directory.

In addition to his active legal practice, Joel co-leads Labaton Sucharow’s Securities Arbitration pro bono
project in collaboration with Brooklyn Law School where he serves as an adjunct professor. Together with
Labaton Sucharow partner Mark Arisohn, firm associates, and Brooklyn Law School students, he represents
aggrieved and defrauded individual investors who cannot otherwise afford to pay for legal counsel in financial
industry arbitration matters against investment advisors and stockbrokers.

As a recognized leader in his field, Joel is frequently sought out by the press to comment on legal matters and
has also authored numerous articles and lectured on related issues. He is a member of the American Bar
Association, the Association of the Bar of the City of New York, the New York County Lawyers’ Association,
and the Public Investors Arbitration Bar Association (PIABA).

He is admitted to practice in the State of New York as well as before the United States Courts of Appeals for
the First, Second, Third, Fourth, Fifth, and Ninth Circuits and the United States District Courts for the Southern
and Eastern Districts of New York.

Thomas A. Dubbs, Partner
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Thomas A. Dubbs focuses on the representation of institutional investors in domestic and multinational
securities cases. Recognized as a leading securities class action attorney, Tom has been named as a top
litigator by Chambers & Partners for seven consecutive years.

Tom has served or is currently serving as lead or co-lead counsel in some of the most important federal
securities class actions in recent years, including those against American International Group, Goldman Sachs,
the Bear Stearns Companies, Facebook, Fannie Mae, Broadcom, and WellCare. Tom has also played an integral
role in securing significant settlements in several high-profile cases including: In re American International
Group, Inc. Securities Litigation (settlements totaling more than $1 billion); In re Bear Stearns Companies, Inc.
Securities Litigation ($275 million settlement with Bear Stearns Companies, plus a $19.9 million settlement with
Deloitte & Touche LLP, Bear Stearns' outside auditor); In re HealthSouth Securities Litigation ($671 million
settlement); Eastwood Enterprises LLC v. Farha et al. (WellCare Securities Litigation) (over $200 million
settlement); In re 2008 Fannie Mae Securities Litigation ($170 million settlement pending final court approval);
In re Broadcom Corp. Securities Litigation ($160.5 million settlement with Broadcom, plus $13 million
settlement with Ernst & Young LLP, Broadcom's outside auditor); In re St. Paul Travelers Securities Litigation
($144.5 million settlement); and In re Vesta Insurance Group, Inc. Securities Litigation ($79 million settlement).



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Representing an affiliate of the Amalgamated Bank, the largest labor-owned bank in the United States, a team
led by Tom successfully litigated a class action against Bristol-Myers Squibb, which resulted in a settlement of
$185 million as well as major corporate governance reforms. He has argued before the United States Supreme
Court and has argued 10 appeals dealing with securities or commodities issues before the United States
Courts of Appeals.

Due to his reputation in securities law, Tom frequently lectures to institutional investors and other groups such
as the Government Finance Officers Association, the National Conference on Public Employee Retirement
Systems, and the Council of Institutional Investors. He is a prolific author of articles related to his field, and he
recently penned “Textualism and Transnational Securities Law: A Reappraisal of Justice Scalia’s Analysis in
Morrison v. National Australia Bank,” Southwestern Journal of International Law (2014). He has also written
several columns in UK-wide publications regarding securities class action and corporate governance.

Prior to joining Labaton Sucharow, Tom was Senior Vice President & Senior Litigation Counsel for Kidder,
Peabody & Co. Incorporated, where he represented the company in many class actions, including the First
Executive and Orange County litigation and was first chair in many securities trials. Before joining Kidder, Tom
was head of the litigation department at Hall, McNicol, Hamilton & Clark, where he was the principal partner
representing Thomson McKinnon Securities Inc. in many matters, including the Petro Lewis and Baldwin-United
class actions.

In addition to his Chambers & Partners recognition, Tom was named a Leading Lawyer by The Legal 500, an
honor presented to only eight U.S. plaintiffs' securities attorneys. Law360 also named him an "MVP of the
Year" for distinction in class action litigation in 2012 and 2015, and he has been recognized by The National
Law Journal, Lawdragon 500, and Benchmark Litigation as a Securities Litigation Star. Tom has received a
rating of AV Preeminent from the publishers of the Martindale-Hubbell directory.

Tom serves as a FINRA Arbitrator and is an Advisory Board Member for the Institute for Transnational
Arbitration. He is a member of the New York State Bar Association, the Association of the Bar of the City of
New York, the American Law Institute, and he is a Patron of the American Society of International Law. He was
previously a member of the Members Consultative Group for the Principles of the Law of Aggregate Litigation
and the Department of State Advisory Committee on Private International Law. Tom also serves on the Board
of Directors for The Sidney Hillman Foundation.

Tom is admitted to practice in the State of New York as well as before the Supreme Court of the United
States, the United States Courts of Appeals for the Second, Third, Ninth and Eleventh Circuits, and the United
States District Court for the Southern District of New York.

Jonathan Gardner, Partner
jgardner@labaton.com

Jonathan Gardner’s practice focuses on prosecuting complex securities fraud cases on behalf of institutional
investors. An experienced litigator, he has played an integral role in securing some of the largest class action
recoveries against corporate offenders since the onset of the global financial crisis.

Most recently, Jonathan was the lead attorney in several matters that resulted in significant recoveries for
injured class members, including: In re Hewlett-Packard Company Securities Litigation, resulting in a $57
million recovery; Medoff v. CVS Caremark Corporation, resulting in a $48 million recovery; In re Nu Skin
Enterprises, Inc., Securities Litigation, resulting in a $47 million recovery; In re Carter's Inc. Securities Litigation
resulting in a $23.3 million recovery against Carter’s and certain of its officers as well as
PricewaterhouseCoopers, its auditing firm; In re Aeropostale Inc. Securities Litigation, resulting in a $15 million
recovery; In re Lender Processing Services Inc., involving claims of fraudulent mortgage processing which
resulted in a $13.1 million recovery; and In re K-12, Inc. Securities Litigation, resulting in a $6.75 million
recovery.



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Recommended and described by The Legal 500 as having the "ability to master the nuances of securities class
actions," Jonathan has led the Firm's representation of investors in many recent high-profile cases including
Rubin v. MF Global Ltd., which involved allegations of material misstatements and omissions in a Registration
Statement and Prospectus issued in connection with MF Global's IPO in 2007. In November 2011, the case
resulted in a recovery of $90 million for investors. Jonathan also represented lead plaintiff City of Edinburgh
Council as Administering Authority of the Lothian Pension Fund in In re Lehman Brothers Equity/Debt
Securities Litigation, which resulted in settlements totaling exceeding $600 million against Lehman Brothers’
former officers and directors, Lehman’s former public accounting firm as well as the banks that underwrote
Lehman Brothers’ offerings. In representing lead plaintiff Massachusetts Bricklayers and Masons Trust Funds in
an action against Deutsche Bank, Jonathan secured a $32.5 million dollar recovery for a class of investors
injured by the Bank’s conduct in connection with certain residential mortgage-backed securities.

Jonathan has also been responsible for prosecuting several of the Firm's options backdating cases, including In
re Monster Worldwide, Inc. Securities Litigation ($47.5 million settlement); In re SafeNet, Inc. Securities
Litigation ($25 million settlement); In re Semtech Securities Litigation ($20 million settlement); and In re MRV
Communications, Inc. Securities Litigation ($10 million settlement). He also was instrumental in In re Mercury
Interactive Corp. Securities Litigation, which settled for $117.5 million, one of the largest settlements or
judgments in a securities fraud litigation based upon options backdating.

Jonathan also represented the Successor Liquidating Trustee of Lipper Convertibles, a convertible bond hedge
fund, in actions against the fund's former independent auditor and a member of the fund's general partner as
well as numerous former limited partners who received excess distributions. He successfully recovered over
$5.2 million for the Successor Liquidating Trustee from the limited partners and $29.9 million from the former
auditor.

He is a member of the Federal Bar Council, New York State Bar Association, and the Association of the Bar of
the City of New York.

Jonathan is admitted to practice in the State of New York as well as before the United States Court of Appeals
for the Ninth and Eleventh Circuits and the United States District Courts for the Southern and Eastern Districts
of New York, and the Eastern District of Wisconsin.

David J. Goldsmith, Partner
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David J. Goldsmith has more than 15 years of experience representing public and private institutional investors
in a wide variety of securities and class action litigations. In recent years, David's work has directly led to
record recoveries against corporate offenders in some of the most complex and high-profile securities class
actions.

David has also been designated as “recommended” by The Legal 500 as part of the Firm’s recognition as a
top-tier plaintiffs’ firm in securities class action litigation.

David was an integral member of the team representing the New York State Common Retirement Fund and
New York City pension funds as lead plaintiffs in In re Countrywide Financial Corporation Securities Litigation,
which settled for $624 million. David successfully represented these clients in an appeal brought by
Countrywide's 401(k) plan in the Ninth Circuit concerning complex settlement allocation issues. David also
represented a hedge fund and individual investors as lead plaintiffs in an action concerning the well-publicized
collapse of four Regions Morgan Keegan closed-end investment companies, in which the court approved a $62
million settlement.

Current matters include representation of a state pension fund in a class action alleging deceptive acts and
practices by State Street Bank in connection with foreign currency exchange trades executed for its custodial
clients; representations of state and county pension funds in securities class actions arising from the initial


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public offerings of Model N, Inc. and A10 Networks, Inc.; representations of a large German banking
institution and a significant Irish special-purpose vehicle in actions alleging fraud in connection with residential
mortgage-backed securities; and representation of a state pension fund in a securities class action against
Neustar, Inc. concerning the bidding and selection process for its key contract.

David has regularly represented the Genesee County (Michigan) Employees' Retirement System in securities
and shareholder matters, including settled actions against CBeyond, Compellent Technologies, Merck,
Spectranetics, and Transaction Systems Architects.

During law school, David was Managing Editor of the Cardozo Arts & Entertainment Law Journal and served as
a judicial intern to the Honorable Michael B. Mukasey, then a United States District Judge for the Southern
District of New York.

For many years, David has been a member of AmorArtis, a renowned choral organization with a diverse
repertoire.

Louis Gottlieb, Partner
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Louis Gottlieb focuses on representing institutional and individual investors in complex securities and
consumer class action cases. He has played a key role in some of the most high-profile securities class actions
in recent history, securing significant recoveries for plaintiffs and ensuring essential corporate governance
reforms to protect future investors, consumers, and the general public.

Lou was integral in prosecuting In re American International Group, Inc. Securities Litigation (settlements
totaling more than $1 billion) and In re 2008 Fannie Mae Securities Litigation ($170 million settlement pending
final approval). He also helped lead major class action cases against the company and related defendants in In
re Satyam Computer Services, Ltd. Securities Litigation ($150.5 million settlement). He has led successful
litigation teams in securities fraud class action litigations against Metromedia Fiber Networks and Pricesmart,
as well as consumer class actions against various life insurance companies.

In the Firm’s representation of the Connecticut Retirement Plans and Trust Funds in In re Waste Management,
Inc. Securities Litigation, Lou’s efforts were essential in securing a $457 million settlement. The settlement also
included important corporate governance enhancements, including an agreement by management to support
a campaign to obtain shareholder approval of a resolution to declassify its board of directors, and a resolution
to encourage and safeguard whistleblowers among the company’s employees. Acting on behalf of New York
City pension funds in In re Orbital Sciences Corporation Securities Litigation, Lou helped negotiate the
implementation of measures concerning the review of financial results, the composition, role and
responsibilities of the Company’s Audit and Finance committee, and the adoption of a Board resolution
providing guidelines regarding senior executives’ exercise and sale of vested stock options.

Lou was a leading member of the team in the Napp Technologies Litigation that won substantial recoveries for
families and firefighters injured in a chemical plant explosion. Lou has had a major role in national product
liability actions against the manufacturers of orthopedic bone screws and atrial pacemakers, and in consumer
fraud actions in the national litigation against tobacco companies.

A well-respected litigator, Lou has made presentations on punitive damages at Federal Bar Association
meetings and has spoken on securities class actions for institutional investors.

Lou brings a depth of experience to his practice from both within and outside of the legal sphere. He
graduated first in his class from St. John’s School of Law. Prior to joining Labaton Sucharow, he clerked for the
Honorable Leonard B. Wexler of the Eastern District of New York, and he worked as an associate at Skadden
Arps Slate Meagher & Flom LLP.



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Lou is admitted to practice in the States of New York and Connecticut as well as before the United States
Courts of Appeals for the Fifth and Seventh Circuits and the United States District Courts for the Southern and
Eastern Districts of New York.

Serena Hallowell, Partner
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Serena Hallowell focuses on prosecuting complex securities fraud cases on behalf of institutional investors.
Currently, she is actively prosecuting In re Intuitive Surgical Securities Litigation and In re Barrick Gold
Securities Litigation.

Recently, Serena was named as a 2016 Class Action Rising Star by Law360 and recommended by The Legal 500
in the field of Securities Litigation. Playing a principal role in prosecuting In re Computer Sciences Corporation
Securities Litigation (CSC) in a "rocket docket" jurisdiction, she helped secure a settlement of $97.5 million on
behalf of lead plaintiff Ontario Teachers' Pension Plan Board, the third largest all cash settlement in the Fourth
Circuit. She was also instrumental in securing a $48 million recovery in Medoff v. CVS Caremark Corporation,
as well as a $41.5 million settlement in In re NII Holdings, Inc. Securities Litigation.

Serena also has broad appellate and trial experience. Most recently, Serena participated in the successful
appeal of the CVS matter before the U.S. Court of Appeals for the First Circuit, and she is currently
participating in an appeal pending before the U.S. Court of Appeals for the Tenth Circuit. In addition, she has
previously played a key role in securing a favorable jury verdict in one of the few securities fraud class action
suits to proceed to trial.

Prior to joining Labaton Sucharow, Serena was an attorney at Ohrenstein & Brown LLP, where she participated
in various federal and state commercial litigation matters. During her time there, she also defended financial
companies in regulatory proceedings and assisted in high profile coverage litigation matters in connection with
mutual funds trading investigations.

Serena received a J.D. from Boston University School of Law, where she served as the Note Editor for the
Journal of Science & Technology Law. She earned a B.A. in Political Science from Occidental College.

Serena is a member of the Association of the Bar of the City of New York, the Federal Bar Council, and the
National Association of Women Lawyers (NAWL), where she serves on the Women’s Initiatives Leadership
Boot Camp Planning Committee. She also devotes time to pro bono work with the Securities Arbitration Clinic
at Brooklyn Law School and is a member of the Firm’s Women’s Initiative.

She is conversational in Urdu/Hindi.

She is admitted to practice in the State of New York as well as before the United States Court of Appeals for
the First and Eleventh Circuits and the United States District Courts for the Southern and Eastern Districts of
New York.

Thomas G. Hoffman, Jr., Partner
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Thomas G. Hoffman, Jr. focuses on representing institutional investors in complex securities actions.

Thomas was instrumental in securing a $1 billion recovery in the eight-year litigation against AIG and related
defendants. He also was a key member of the Labaton Sucharow team that recovered $170 million for
investors in In re 2008 Fannie Mae Securities Litigation. Currently, Thomas is prosecuting cases against BP,
Facebook, and American Express.




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Thomas received a J.D. from UCLA School of Law, where he was Editor-in-Chief of the UCLA Entertainment
Law Review, and he served as a Moot Court Executive Board Member. In addition, he was a judicial extern to
the Honorable William J. Rea, United States District Court for the Central District of California. Thomas earned
a B.F.A., with honors, from New York University.

Thomas is admitted to practice in the State of New York as well as before the United States District Courts for
the Southern and Eastern Districts of New York.

James W. Johnson, Partner
jjohnson@labaton.com

James W. Johnson focuses on complex securities fraud cases. In representing investors who have been
victimized by securities fraud and breaches of fiduciary responsibility, Jim's advocacy has resulted in record
recoveries for wronged investors. Currently, he is prosecuting high-profile cases against financial industry
leader Goldman Sachs in In re Goldman Sachs Group, Inc., Securities Litigation, and the world’s most popular
social network, in In re Facebook, Inc., IPO Securities and Derivative Litigation. In addition to his active
caseload, Jim holds a variety of leadership positions within the Firm, including serving on the Firm’s Executive
Committee and acting as the Firm’s Hiring Partner. He also serves as the Firm’s Executive Partner overseeing
firmwide issues.

A recognized leader in his field, Jim has successfully litigated a number of complex securities and RICO class
actions including: In re Bear Stearns Companies, Inc. Securities Litigation ($275 million settlement with Bear
Stearns Companies, plus a $19.9 million settlement with Deloitte & Touche LLP, Bear Stearns’ outside auditor);
In re HealthSouth Corp. Securities Litigation ($671 million settlement); Eastwood Enterprises LLC v. Farha et al.
(WellCare Securities Litigation) ($200 million settlement); In re Vesta Insurance Group, Inc. Securities Litigation
($79 million settlement); In re Bristol Myers Squibb Co. Securities Litigation ($185 million settlement), in which
the court also approved significant corporate governance reforms and recognized plaintiff's counsel as
"extremely skilled and efficient"; and In re National Health Laboratories, Inc., Securities Litigation, which
resulted in a recovery of $80 million in the federal action and a related state court derivative action.

In County of Suffolk v. Long Island Lighting Co., Jim represented the plaintiff in a RICO class action, securing a
jury verdict after a two-month trial that resulted in a $400 million settlement. The Second Circuit quoted the
trial judge, Honorable Jack B. Weinstein, as stating "counsel [has] done a superb job [and] tried this case as
well as I have ever seen any case tried." On behalf of the Chugach Native Americans, he also assisted in
prosecuting environmental damage claims resulting from the Exxon Valdez oil spill.

Jim is a member of the American Bar Association and the Association of the Bar of the City of New York,
where he served on the Federal Courts Committee, and he is a Fellow in the Litigation Council of America.

Jim has received a rating of AV Preeminent from the publishers of the Martindale-Hubbell directory.

He is admitted to practice in the States of New York and Illinois as well as before the Supreme Court of the
United States, the United States Courts of Appeals for the Second, Third, Fourth, Fifth, Seventh and Eleventh
Circuits, and the United States District Courts for the Southern, Eastern and Northern Districts of New York,
and the Northern District of Illinois.

Christopher J. Keller, Partner
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Christopher J. Keller focuses on complex securities litigation. His clients are institutional investors, including
some of the world's largest public and private pension funds with tens of billions of dollars under management.

Described by The Legal 500 as a “sharp and tenacious advocate” who “has his pulse on the trends,” Chris has
been instrumental in the Firm’s appointments as lead counsel in some of the largest securities matters arising

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out of the financial crisis, such as actions against Countrywide ($624 million settlement), Bear Stearns ($275
million settlement with Bear Stearns Companies, plus a $19.9 million settlement with Deloitte & Touche LLP,
Bear Stearns' outside auditor), Fannie Mae ($170 million settlement), and Goldman Sachs.

Chris has also been integral in the prosecution of traditional fraud cases such as In re Schering-Plough
Corporation / ENHANCE Securities Litigation; In re Massey Energy Co. Securities Litigation, where the Firm
obtained a $265 million all-cash settlement with Alpha Natural Resources, Massey’s parent company; as well as
In re Satyam Computer Services, Ltd. Securities Litigation, where the Firm obtained a settlement of more than
$150 million. Chris was also a principal litigator on the trial team of In re Real Estate Associates Limited
Partnership Litigation. The six-week jury trial resulted in a $184 million plaintiffs’ verdict, one of the largest jury
verdicts since the passage of the Private Securities Litigation Reform Act.

In addition to his active caseload, Chris holds a variety of leadership positions within the Firm, including serving
on the Firm's Executive Committee. In response to the evolving needs of clients, Chris also established, and
currently leads, the Case Evaluation Group, which is comprised of attorneys, in-house investigators, financial
analysts, and forensic accountants. The group is responsible for evaluating clients' financial losses and
analyzing their potential legal claims both in and outside of the U.S. and tracking trends that are of potential
concern to investors.

Educating institutional investors is a significant element of Chris’ advocacy efforts for shareholder rights. He is
regularly called upon for presentations on developing trends in the law and new case theories at annual
meetings and seminars for institutional investors.

He is a member of several professional groups, including the New York State Bar Association and the New
York County Lawyers’ Association.

He is admitted to practice in the State of New York as well as before the Supreme Court of the United States
and the United States District Courts for the Southern and Eastern Districts of New York, the Eastern District
of Wisconsin, and the District of Colorado.

Edward Labaton, Partner
elabaton@labaton.com

An accomplished trial lawyer and partner with the Firm, Edward Labaton has devoted 50 years of practice to
representing a full range of clients in class action and complex litigation matters in state and federal court. He
is the recipient of the Alliance for Justice’s 2015 Champion of Justice Award, given to outstanding individuals
whose life and work exemplifies the principle of equal justice.

Ed has played a leading role as plaintiffs' class counsel in a number of successfully prosecuted, high-profile
cases, involving companies such as PepsiCo, Dun & Bradstreet, Financial Corporation of America, ZZZZ Best,
Revlon, GAF Co., American Brands, Petro Lewis and Jim Walter, as well as several Big Eight (now Four)
accounting firms. He has also argued appeals in state and federal courts, achieving results with important
precedential value.

Ed has been President of the Institute for Law and Economic Policy (ILEP) since its founding in 1996. Each year,
ILEP co-sponsors at least one symposium with a major law school dealing with issues relating to the civil justice
system. In 2010, he was appointed to the newly formed Advisory Board of George Washington University's
Center for Law, Economics, & Finance (C-LEAF), a think tank within the Law School, for the study and debate
of major issues in economic and financial law confronting the United States and the globe. Ed is an Honorary
Lifetime Member of the Lawyers’ Committee for Civil Rights under Law, a member of the American Law
Institute, and a life member of the ABA Foundation. In addition, he has served on the Executive Committee
and has been an officer of the Ovarian Cancer Research Fund since its inception in 1996.




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Ed is the past Chairman of the Federal Courts Committee of the New York County Lawyers Association, and
was a member of the Board of Directors of that organization. He is an active member of the Association of the
Bar of the City of New York, where he was Chair of the Senior Lawyers’ Committee and served on its Task
Force on the Role of Lawyers in Corporate Governance. He has also served on its Federal Courts, Federal
Legislation, Securities Regulation, International Human Rights, and Corporation Law Committees. He also
served as Chair of the Legal Referral Service Committee, a joint committee of the New York County Lawyers’
Association and the Association of the Bar of the City of New York. He has been an active member of the
American Bar Association, the Federal Bar Council, and the New York State Bar Association, where he has
served as a member of the House of Delegates.

For more than 30 years, he has lectured on many topics including federal civil litigation, securities litigation,
and corporate governance.

He is admitted to practice in the State of New York as well as before the Supreme Court of the United States,
the United States Courts of Appeals for the Second, Fifth, Sixth, Seventh, Ninth, Tenth, and Eleventh Circuits,
and the United States District Courts for the Southern and Eastern Districts of New York, and the Central
District of Illinois.

Christopher J. McDonald, Partner
cmcdonald@labaton.com

Christopher J. McDonald focuses on prosecuting complex securities fraud cases. Chris also works with the
Firm’s Antitrust & Competition Litigation Practice, representing businesses, associations, and individuals
injured by anticompetitive activities and unfair business practices.

In the securities field, Chris is currently lead counsel in In re Amgen Inc. Securities Litigation. Most recently, he
was co-lead counsel in In re Schering-Plough Corporation / ENHANCE Securities Litigation, which resulted in a
$473 million settlement, one of the largest securities class action settlement ever against a pharmaceutical
company and among the ten largest recoveries ever in a securities class action that did not involve a financial
reinstatement. He was also an integral part of the team that successfully litigated In re Bristol-Myers Squibb
Securities Litigation, where Labaton Sucharow secured a $185 million settlement, as well as significant
corporate governance reforms, on behalf of Bristol-Myers shareholders.

In the antitrust field, Chris was most recently co-lead counsel in In re TriCor Indirect Purchaser Antitrust
Litigation, obtaining a $65.7 million settlement on behalf of the class.

Chris began his legal career at Patterson, Belknap, Webb & Tyler LLP, where he gained extensive trial
experience in areas ranging from employment contract disputes to false advertising claims. Later, as a senior
attorney with a telecommunications company, Chris advocated before government regulatory agencies on a
variety of complex legal, economic, and public policy issues. Since joining Labaton Sucharow, Chris’ practice
has developed a focus on life sciences industries; his cases often involve pharmaceutical, biotechnology, or
medical device companies accused of wrongdoing.

During his time at Fordham University School of Law, Chris was a member of the Law Review. He is currently a
member of the New York State Bar Association and the Association of the Bar of the City of New York.

Chris is admitted to practice in the State of New York as well as before the United States Courts of Appeals for
the Second, Third, Ninth, and Federal Circuits and the United States District Courts for the Southern and
Eastern Districts of New York, and the Western District of Michigan.




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Michael H. Rogers, Partner
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Michael H. Rogers focuses on prosecuting complex securities fraud cases on behalf of institutional investors.
Currently, Mike is actively involved in prosecuting In re Goldman Sachs, Inc. Securities Litigation; Arkansas
Teacher Retirement System v. State Street Corp; 3226701 Canada, Inc. v. Qualcomm, Inc.; Public Employees'
Retirement System of Mississippi v. Sprouts Farmers Markets, Inc.; and In re Virtus Investment Partners, Inc.
Securities Litigation.

Since joining Labaton Sucharow, Mike has been a member of the lead or co-lead counsel teams in federal
securities class actions against Countrywide Financial Corp. ($624 million settlement), HealthSouth Corp. ($671
million settlement), Mercury Interactive Corp. ($117.5 million settlement), and Computer Sciences Corp. ($97.5
million settlement).

Prior to joining Labaton Sucharow, Mike was an attorney at Kasowitz, Benson, Torres & Friedman LLP, where
he practiced securities and antitrust litigation, representing international banking institutions bringing federal
securities and other claims against major banks, auditing firms, ratings agencies and individuals in complex
multidistrict litigation. He also represented an international chemical shipping firm in arbitration of antitrust
and other claims against conspirator ship owners.

Mike began his career as an attorney at Sullivan & Cromwell, where he was part of Microsoft’s defense team in
the remedies phase of the Department of Justice antitrust action against the company.

Mike received a J.D., magna cum laude, from the Benjamin N. Cardozo School of Law, Yeshiva University,
where he was a member of the Cardozo Law Review. He earned a B.A., magna cum laude, in Literature-Writing
from Columbia University.

Mike is proficient in Spanish.

He is admitted to practice in the State of New York as well as before the United States District Courts for the
Southern and Eastern Districts of New York.

Ira A. Schochet, Partner
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A seasoned litigator with three decades of experience, Ira A. Schochet focuses on class actions involving
securities fraud. Ira has played a lead role in securing multimillion dollar recoveries and major corporate
governance reforms in high-profile cases such as those against Countrywide Financial, Boeing, Massey Energy,
Caterpillar, Spectrum Information Technologies, InterMune, and Amkor Technology.

A longtime leader in the securities class action bar, Ira represented one of the first institutional investors acting
as a lead plaintiff in a post-Private Securities Litigation Reform Act case and ultimately obtained one of the first
rulings interpreting the statute's intent provision in a manner favorable to investors. His efforts are regularly
recognized by the courts, including in Kamarasy v. Coopers & Lybrand, where the court remarked on "the
superior quality of the representation provided to the class." Further, in approving the settlement he achieved
in the InterMune litigation, the court complimented Ira's ability to secure a significant recovery for the class in
a very efficient manner, shielding the class from prolonged litigation and substantial risk.

Ira has also played a key role in groundbreaking cases in the field of merger and derivative litigation. In In re
Freeport-McMoRAn Copper &Gold Inc. Derivative Litigation, he achieved the second largest derivative
settlement in the Delaware Court of Chancery history, a $153.75 million settlement with an unprecedented
provision of direct payments to stockholders by means of a special dividend. In another first-of-its-kind case,
Ira was featured in The AmLaw Litigation Daily as Litigator of the Week for his work in In re El Paso
Corporation Shareholder Litigation. The action alleged breach of fiduciary duties in connection with a merger

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transaction, including specific reference to wrongdoing by a conflicted financial advisory consultant, and
resulted in a $110 million recovery for a class of shareholders and a waiver by the consultant of its fee.

From 2009-2011, Ira served as President of the National Association of Shareholder and Consumer Attorneys
(NASCAT), a membership organization of approximately 100 law firms that practice class action and complex
civil litigation. During this time, he represented the plaintiffs' securities bar in meetings with members of
Congress, the Administration, and the SEC.

From 1996 through 2012, Ira served as Chairman of the Class Action Committee of the Commercial and
Federal Litigation Section of the New York State Bar Association. During his tenure, he has served on the
Executive Committee of the Section and authored important papers on issues relating to class action
procedure including revisions proposed by both houses of Congress and the Advisory Committee on Civil
Procedure of the United States Judicial Conference. Examples include: "Proposed Changes in Federal Class
Action Procedure," "Opting Out On Opting In," and "The Interstate Class Action Jurisdiction Act of 1999."

He also has lectured extensively on securities litigation at continuing legal education seminars. He has also
been awarded an AV Preeminent rating, the highest distinction, from the publishers of the Martindale-Hubbell
directory.

He is admitted to practice in the State of New York as well as before the United States Court of Appeals for
the Second, Fifth and Ninth Circuits and the United States District Courts for the Southern and Eastern
Districts of New York, the Central District of Illinois, the Northern District of Texas, and the Western District of
Michigan.

Michael W. Stocker, Partner
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As General Counsel to the Firm and a lead strategist on Labaton Sucharow's Case Evaluation Team, Michael
W. Stocker is integral to the Firm's investigating and prosecuting securities, antitrust, and consumer class
actions.

Mike represents institutional investors in a broad range of class action litigation, corporate governance, and
securities matters. In one of the most significant securities class actions of the decade, Mike played an
instrumental part of the team that took on American International Group, Inc. and 21 other defendants. The
Firm negotiated a recovery of more than $1 billion. He was also key in litigating In re Bear Stearns Companies,
Inc. Securities Litigation, where the Firm secured a $275 million settlement with Bear Stearns, plus a $19.9
million settlement with the company’s outside auditor, Deloitte & Touche LLP.

In a case against one of the world’s largest pharmaceutical companies, In re Abbott Laboratories Norvir
Antitrust Litigation, Mike played a leadership role in litigating a landmark action arising at the intersection of
antitrust and intellectual property law. The novel settlement in the case created a multimillion dollar fund to
benefit nonprofit organizations serving individuals with HIV. In recognition of his work on Norvir, The National
Law Journal named the Firm to the prestigious Plaintiffs' Hot List, and he received the 2010 Courage Award
from the AIDS Resource Center of Wisconsin. Mike has also been recognized by The Legal 500 in the field of
Securities, M&A, and Antitrust Litigation and was named a Securities Litigation Star by Benchmark Litigation.

Earlier in his career, Mike served as a senior staff attorney with the United States Court of Appeals for the
Ninth Circuit and completed a legal externship with federal Judge Phyllis J. Hamilton, currently sitting in the
U.S. District Court for the Northern District of California. He earned a B.A. from the University of California,
Berkeley, a Master of Criminology from the University of Sydney, and a J.D. from University of California's
Hastings College of the Law.

He is an active member of the National Association of Public Pension Plan Attorneys (NAPPA), the New York
State Bar Association, and the Association of the Bar of the City of New York. Since 2013, Mike has served on


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Law360's Securities Editorial Advisory Board, advising on timely and interesting topics warranting media
coverage. For two consecutive years (2015-2016), the Council of Institutional Investors has appointed Mike to
the Markets Advisory Council, which provides input on legal, financial reporting, and investment market
trends. In 2016, he was elected as a member of The American Law Institute, the leading independent
organization in the United States producing scholarly work to clarify, modernize, and otherwise improve the
law.

In addition to his litigation practice, Mike mentors youth through participation in Mentoring USA. The program
seeks to empower young people with the guidance, skills, and resources necessary to maximize their full
potential.

He is admitted to practice in the States of California and New York as well as before the United States Courts
of Appeals for the Second, Eighth and Ninth Circuits and the United States District Courts for the Northern
and Central Districts of California and the Southern and Eastern Districts of New York.

Carol C. Villegas, Partner
cvillegas@labaton.com

Carol C. Villegas focuses on prosecuting complex securities fraud cases on behalf of institutional investors.
Currently, she is litigating cases against Intuitive Surgical and Advanced Micro Devices, where she also serves
as the lead discovery attorney.

Carol played a pivotal role in securing favorable settlements for investors from Aeropostale, a leader in the
international retail apparel industry, ViroPharma Inc., a biopharmaceutical company, and Vocera, a healthcare
communications provider. A true advocate for her clients, Carol’s most recent argument in the case against
Vocera resulted in a ruling from the bench, denying defendants’ motion to dismiss in that case. Carol works on
developing innovative case theories in complex cases, and particularly those cases involving complex
regulatory schemes.

Prior to joining Labaton Sucharow, Carol served as the Assistant District Attorney in the Supreme Court Bureau
for the Richmond County District Attorney's office. During her tenure at the District Attorney's office, Carol
took several cases to trial. She began her career as an associate at King & Spalding LLP where she worked as a
federal litigator in the Intellectual Property practice group.

Carol received a J.D. from New York University School of Law, and she was the recipient of The Irving H. Jurow
Achievement Award for the Study of Law and selected to receive the Association of the Bar of the City of New
York Minority Fellowship. Carol served as the Staff Editor, and later the Notes Editor, of the Environmental
Law Journal. She earned a B.A., with honors, in English and Politics from New York University.

Carol is a member of the Association of the Bar of the City of New York and a member of the Executive
Council for the New York State Bar Association’s Committee on Women in the Law. She also devotes time to
pro bono work with the Securities Arbitration Clinic at Brooklyn Law School and is a member of the Firm’s
Women’s Initiative.

She is fluent in Spanish.

Carol is admitted to practice in the States of New York and New Jersey as well as before the United States
Courts of Appeals for the Tenth and Eleventh Circuits and the United States District Courts for the Southern
and Eastern Districts of New York, the District of New Jersey, the District of Colorado, and the Eastern District
of Wisconsin.




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Ned Weinberger, Partner
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Ned Weinberger focuses on representing investors in corporate governance and transactional matters,
including class action and derivative litigation. Ned was recognized by Chambers & Partners USA in the
Delaware Court of Chancery and was previously named an “Associate to Watch,” noting his impressive range
of practice areas.

Recently, Ned was part of a team that achieved a $12 million recovery on behalf of stockholders of ArthroCare
Corporation in a case alleging breaches of fiduciary duty by the ArthroCare board of directors and other
defendants in connection with Smith & Nephew, Inc. acquisition of ArthroCare.

Prior to joining Labaton Sucharow, Ned was a litigation associate at Grant & Eisenhofer P.A. where he gained
substantial experience in all aspects of investor protection, including representing shareholders in matters
relating to securities fraud, mergers and acquisitions, and alternative entities. Representative of Ned's
experience in the Delaware Court of Chancery is In re Barnes & Noble Stockholders Derivative Litigation, in
which Ned assisted in obtaining approximately $29 million in settlements on behalf of Barnes & Noble
investors. Ned was also part of the litigation team in In re Clear Channel Outdoor Holdings, Inc. Shareholder
Litigation, the settlement of which provided numerous benefits for Clear Channel Outdoor Holdings and its
shareholders, including, among other things, a $200 million cash dividend to the company's shareholders.

Ned received his J.D. from the Louis D. Brandeis School of Law at the University of Louisville where he served
on the Journal of Law and Education. He earned his B.A. in English Literature, cum laude, at Miami University.

Ned is admitted to practice in the States of Delaware, Pennsylvania, and New York as well as before the
United States District Court for the District of Delaware.

Nicole M. Zeiss, Partner
nzeiss@labaton.com

A litigator with nearly two decades of experience, Nicole M. Zeiss leads the Settlement Group at Labaton
Sucharow, analyzing the fairness and adequacy of the procedures used in class action settlements. Her practice
includes negotiating and documenting complex class action settlements and obtaining the required court
approval of the settlements, notice procedures, and payments of attorneys' fees.

Over the past year, Nicole was actively involved in finalizing settlements with Massey Energy Company ($265
million), Fannie Mae ($170 million), and Hewlett-Packard Company ($57 million), among others.

Nicole was part of the Labaton Sucharow team that successfully litigated the $185 million settlement in In re
Bristol-Myers Squibb Securities Litigation, and she played a significant role in In re Monster Worldwide, Inc.
Securities Litigation ($47.5 million settlement). Nicole also litigated on behalf of investors who have been
damaged by fraud in the telecommunications, hedge fund, and banking industries.

Prior to joining Labaton Sucharow, Nicole practiced in the area of poverty law at MFY Legal Services. She also
worked at Gaynor & Bass practicing general complex civil litigation, particularly representing the rights of
freelance writers seeking copyright enforcement.

Nicole maintains a commitment to pro bono legal services by continuing to assist mentally ill clients in a variety
of matters—from eviction proceedings to trust administration.

She received a J.D. from the Benjamin N. Cardozo School of Law, Yeshiva University, and earned a B.A. in
Philosophy from Barnard College.

Nicole is a member of the Association of the Bar of the City of New York.

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She is admitted to practice in the State of New York as well as before the United States District Courts for the
Southern and Eastern Districts of New York.

Garrett J. Bradley, Of Counsel
gbradley@labaton.com

With more than 20 years of experience, Garrett J. Bradley focuses on representing leading pension funds and
other institutional investors. Garrett has experience in a broad range of commercial matters, including
securities, antitrust and competition, consumer protection, and mass tort litigation.

Prior to Garrett’s career in private practice, he worked as an Assistant District Attorney in the Plymouth County
District Attorney’s office.

Garrett is a member of the Public Justice Foundation and the Million Dollar Advocates Forum, an exclusive
group of trial lawyers who have secured multimillion dollar verdicts for clients.

Garrett is admitted to practice in the States of New York and Massachusetts, the United States Court of
Appeals for the First Circuit, and the United States District Court of Massachusetts.

Marisa N. DeMato, Of Counsel
mdemato@labaton.com

Marisa N. DeMato advises leading pension funds and other institutional investors in the United States and
Canada on issues related to corporate fraud in the U.S. securities markets. Her work focuses on complex
securities class actions, counseling clients on best practices in the corporate governance of publicly traded
companies, and advising foundations and endowment funds on monitoring the well-being of their investments.
Marisa also advises municipalities and health plans on issues related to U.S. antitrust law and potential
violations.

Marisa recently served as legal adviser to the West Palm Beach Police Pension Fund in In re Walgreen Co.
Derivative Litigation, which obtained significant corporate governance reforms and required Walgreens to
extend its Drug Enforcement Agency commitments as part of the settlement related to the company’s
Controlled Substances Act violation.

Prior to joining Labaton Sucharow, Marisa devoted a substantial portion of her time litigating securities fraud,
derivative, mergers and acquisitions, consumer fraud, and qui tam actions. During her eight years as a litigator,
Marisa was an integral member of the legal teams that helped secure multimillion dollar settlements on behalf
of aggrieved investors and defrauded consumers.

Marisa has been invited to speak on shareholder litigation-related matters, frequently lecturing on topics
pertaining to securities fraud litigation, fiduciary responsibility, and corporate governance issues. Most
recently, she testified before the Texas House of Representatives Pensions Committee to address the
changing legal landscape public pensions have faced since the Supreme Court’s Morrison decision and
highlighted the best practices for non-U.S. investment recovery. During the 2008 financial crisis, Marisa spoke
widely on the subprime mortgage crisis and its disastrous effect on the pension fund community at regional
and national conferences, and addressed the crisis’ global implications and related fraud to institutional
investors internationally in Italy, France, and the United Kingdom. Marisa has also presented on issues
pertaining to the federal regulatory response to the 2008 crisis, including implications of the Dodd-Frank
legislation and the national debate on executive compensation and proxy access for shareholders.

In the spring of 2006, Marisa was selected over 250,000 applicants to appear on the sixth season of The
Apprentice, which aired on January 7, 2007, on NBC. As a result of her role on The Apprentice, Marisa has
appeared in numerous news media outlets, such as The Wall Street Journal, People magazine, and various
national legal journals.

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Marisa is admitted to practice in the State of Florida and the District of Columbia as well as before the United
States District Courts for the Northern, Middle, and Southern Districts of Florida.

Joseph H. Einstein, Of Counsel
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A seasoned litigator, Joseph H. Einstein represents clients in complex corporate disputes, employment
matters, and general commercial litigation. He has litigated major cases in the state and federal courts and has
argued many appeals, including appearing before the United States Supreme Court.

His experience encompasses extensive work in the computer software field including licensing and consulting
agreements. Joe also counsels and advises business entities in a broad variety of transactions.

Joe serves as an official mediator for the United States District Court for the Southern District of New York. He
is an arbitrator for the American Arbitration Association and FINRA. Joe is a former member of the New York
State Bar Association Committee on Civil Practice Law and Rules and the Council on Judicial Administration of
the Association of the Bar of the City of New York. He currently is a member of the Arbitration Committee of
the Association of the Bar of the City of New York.

During Joe’s time at New York University School of Law, he was a Pomeroy and Hirschman Foundation Scholar,
and served as an Associate Editor of the Law Review.

Joe has been awarded an AV Preeminent rating, the highest distinction, from the publishers of the Martindale-
Hubbell directory.

He is admitted to practice in the State of New York as well as before the Supreme Court of the United States,
the United States Courts of Appeals for the First and Second Circuits, and the United States District Courts for
the Southern and Eastern Districts of New York.

Christine M. Fox, Of Counsel
cfox@labaton.com

Christine M. Fox focuses on prosecuting complex securities fraud cases on behalf of institutional investors.
Currently, Christine is actively involved in prosecuting cases against Nu Skin Enterprises, Inc., Conn's, Inc.,
Intuitive Surgical, and Horizon Pharma.

Prior to joining Labaton Sucharow, Christine worked at a national litigation firm focusing on securities,
antitrust, and consumer litigation in state and federal courts.

Christine received her J.D. from the University of Michigan Law School and her B.A. from Cornell University.
She is a member of the American Bar Association, the New York State Bar Association, and the Puerto Rican
Bar Association.

Christine is conversant in Spanish.

Christine is admitted to the practice in the State of New York as well as before the United States District
Courts for the Southern and Eastern Districts of New York.

Mark Goldman, Of Counsel
mgoldman@labaton.com

Mark S. Goldman has 30 years of experience in commercial litigation, primarily litigating class actions involving
securities fraud, consumer fraud, and violations of federal and state antitrust laws.


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Mark is currently prosecuting securities fraud claims on behalf of institutional and individual investors against
the manufacturer of communications systems used by hospitals that allegedly misrepresented the impact of
the ACA and budget sequestration of the company's sales, and a multi-layer marketing company that allegedly
misled investors about its business structure in China. Mark is also participating in litigation brought against
international air cargo carriers charged with conspiring to fix fuel and security surcharges, and domestic
manufacturers of various auto parts charged with price-fixing.

Mark successfully litigated a number of consumer fraud cases brought against insurance companies challenging
the manner in which they calculated life insurance premiums. He also prosecuted a number of insider trading
cases brought against company insiders who, in violation of Section 16(b) of the Securities Exchange Act,
engaged in short swing trading. In addition, Mark participated in the prosecution of In re AOL Time Warner
Securities Litigation, a massive securities fraud case that settled for $2.5 billion.

He is admitted to the state of Pennsylvania, the Third, Ninth, and Eleventh Circuits of the U.S. Court of
Appeals, the Eastern District of Pennsylvania, the District of Colorado, and the Eastern District of Wisconsin.

Lara Goldstone, Of Counsel
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Lara Goldstone advises pension funds and other institutional investors on issues related to corporate fraud in
the U.S. securities markets. Before joining Labaton Sucharow, Lara worked as a legal intern in the Larimer
County District Attorney’s Office and the Jefferson County District Attorney’s Office.

Prior to her legal career, Lara worked at Industrial Labs where she worked closely with Federal Drug
Administration standards and regulations. In addition, she was a teacher in Irvine, California.

Lara received a J.D. from University of Denver Sturm College of Law, where she was a judge of The Providence
Foundation of Law & Leadership Mock Trial and a competitor of the Daniel S. Hoffman Trial Advocacy
Competition. She earned a B.A. from The George Washington University where she was a recipient of a
Presidential Scholarship for academic excellence. She earned a B.A. from The George Washington University
where she was a recipient of a Presidential Scholarship for academic excellence.

Lara is admitted to practice in the State of Colorado.

Domenico Minerva, Of Counsel
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Domenico “Nico” Minerva advises leading pension funds and other institutional investors on issues related to
corporate fraud in the U.S. securities markets. A former financial advisor, his work focuses on securities,
antitrust, and consumer class action litigation and shareholder derivative litigation, representing Taft-Hartley
and public pension funds across the country.

Nico’s extensive experience litigating securities cases includes those against global securities systems
company Tyco and co-defendant PricewaterhouseCoopers (In re Tyco International Ltd., Securities Litigation),
which resulted in a $3.2 billion settlement, achieving the largest single defendant settlement in post-PSLRA
history. He also has counseled companies and institutional investors on corporate governance reform.

Nico has also done substantial work in antitrust class actions in pay-for-delay or “product hopping” cases in
which pharmaceutical companies allegedly obstructed generic competitors in order to preserve monopoly
profits on patented drugs, including Mylan Pharmaceuticals Inc. v. Warner Chilcott Public Limited Co., In re
Lidoderm Antitrust Litigation, In re Solodyn (MinocyclineHydrochloride) Antitrust Litigation, In re Niaspan
Antitrust Litigation, In re Aggrenox Antitrust Litigation, and Sergeants Benevolent Association Health &
Welfare Fund et al. v. Actavis PLC et al. In an anticompetitive antitrust matter, The Infirmary LLC vs. National
Football League Inc et al., Nico played a part in challenging an exclusivity agreement between the NFL and

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DirectTV over the service’s “NFL Sunday Ticket” package, and he litigated on behalf of indirect purchasers of
potatoes in a case alleging that growers conspired to control and suppress the nation’s potato supply In re
Fresh and Process Potatoes Antitrust Litigation.

On behalf of consumers, Nico represented a plaintiff in In Re ConAgra Foods Inc. over its claims that Wesson-
brand vegetable oils are 100 percent natural.

An accomplished speaker, Nico has given numerous presentations to investors on a variety of topics of interest
regarding corporate fraud, wrongdoing, and waste. He is also an active member of the National Association of
Public Pension Plan Attorneys (NAPPA).

Nico obtained his J.D. from Tulane University Law School, where he also completed a two-year externship with
the Honorable Kurt D. Engelhardt of the United States District Court for the Eastern District of Louisiana. He
earned his B.S. in Business Administration from the University of Florida.

Nico is admitted to practice in the state courts of New York and Delaware, as well as the United States District
Courts for the Eastern and Southern Districts of New York.

Barry M. Okun, Of Counsel
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Barry M. Okun is a seasoned trial and appellate lawyer with more than 30 years of experience in a broad range
of commercial litigation. Currently, Barry is actively involved in prosecuting In re Goldman Sachs Group, Inc.
Securities Litigation. Most recently, he was part of the Labaton Sucharow team that recovered more than $1
billion in the eight-year litigation against American International Group, Inc. Barry also played a key role
representing the Successor Liquidating Trustee of Lipper Convertibles LP and Lipper Fixed Income Fund LP,
failed hedge funds, in actions against the Fund’s former auditors, overdrawn limited partners, and
management team. He helped recover $5.2 million from overdrawn limited partners and $30 million from the
Fund’s former auditors.

Barry has litigated several leading commercial law cases, including the first case in which the United States
Supreme Court ruled on issues relating to products liability. He has argued appeals before the United States
Court of Appeals for the Second and Seventh Circuits and the Appellate Divisions of three out of the four
judicial departments in New York State. Barry has appeared in numerous trial courts throughout the country.

He received a J.D., cum laude, from Boston University School of Law, where he was the Articles Editor of the
Law Review. Barry earned a B.A., with a citation for academic distinction, in History from the State University of
New York at Binghamton.

Barry has received an AV Preeminent rating, the highest distinction, from the publishers of the Martindale-
Hubbell directory.

He is admitted to practice in the State of New York as well as before the Supreme Court of the United States,
the United States Courts of Appeals for the First, Second, Seventh and Eleventh Circuits, and the United States
District Courts for the Southern and Eastern Districts of New York.

Richard T. Joffe, Senior Counsel
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Richard Joffe’s practice focuses on class action litigation, including securities fraud, antitrust, and consumer
fraud cases. Since joining the Firm, Rich has represented such varied clients as institutional purchasers of
corporate bonds, Wisconsin dairy farmers, and consumers who alleged they were defrauded when they
purchased annuities. He played a key role in shareholders obtaining a $303 million settlement of securities
claims against General Motors and its outside auditor.

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Prior to joining Labaton Sucharow, Rich was an associate at Gibson, Dunn & Crutcher LLP, where he played a
key role in obtaining a dismissal of claims against Merrill Lynch & Co. and a dozen other of America’s largest
investment banks and brokerage firms, who, in Friedman v. Salomon/Smith Barney, Inc., were alleged to have
conspired to fix the prices of initial public offerings.

Rich also worked as an associate at Fried, Frank, Harris, Shriver & Jacobson where, among other things, in a
case handled pro bono, he obtained a successful settlement for several older women who alleged they were
victims of age and sex discrimination when they were selected for termination by New York City’s Health and
Hospitals Corporation during a city-wide reduction in force.

Long before becoming a lawyer, Rich was a founding member of the internationally famous rock and roll
group, Sha Na Na.

He is admitted to practice in the State of New York as well as before the United States Courts of Appeals for
the Second, Third, Ninth and Eleventh Circuits, and the United States District Courts for the Southern and
Eastern Districts of New York.




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